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14                                 UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF NEW YORK
16
     _________________
17   ALONZO GRANT AND                               Case No.: 5:15-CV-0445 (LEK/TWD)
     STEPHANIE GRANT,                               COMPLAINT FOR DAMAGES
18
                                                     AMENDED
19                  Plaintiffs,                      1. VIOLATION OF CIVIL RIGHTS
            vs.                                          (42 U.S.C. § 1983)
20                                                   2. VIOLATION OF CIVIL RIGHTS
     CITY OF SYRACUSE, SYRACUSE POLICE                   (42 U.S.C. § 1985)
21
     DEPARTMENT, POLICE OFFICERS                     3. VIOLATION OF CIVIL RIGHTS
22   DAMON LOCKETT AND PAUL                              (42 U.S.C. § 1986)
     MONTALTO, POLICE OFFICER BRIAN                  4. MONEL CLAIM AGAINST CITY
23   NOVITSKY, CHIEF OF POLICE FRANK                     OF SYRACUSE 42 U.S.C. 1983
     FOWLER, and Does 1-100,                         5. ASSAULT and BATTERY 42
24
                                                         U.S.C. 1983;
25                  Defendants.                      6. FALSE ARREST 42 U.S.C. 1983;
                                                     7. FALSE IMPRISONMENT 42
26                                                       U.S.C. 1983 ;
27
                                                     8. FALSE IMPRISONMENT
                                                     9. TRESPASS;
28                                                   10. INVASION OF PRIVACY 42
                                                         U.S.C. 1983


                  ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 1
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 1
                                             11. NEGLIGENT INFLICTION OF
 2                                               EMOTIONAL DISTRESS
                                             12. INTENTIONAL INFLICTION OF
 3                                               EMOTIONAL DISTRESS;
                                             13. MALICIOUS PROSECUTION;
 4
                                             14. NEGLIGENT TRAINING,
 5                                               HIRING, RETENTION, AND
                                                 SUPERVISION;
 6                                           15. LOSS OF CONSORTIUM
 7
                                             16. DEFAMATION PER SE
                                             17. PUNITIVE DAMAGES AGAINST
 8                                               INDIVIDUAL POLICE
                                                 OFFICERS IN THEIR
 9                                               INDIVIDUAL CAPACITY.
10
                                             18. DECLARATION RELIEF
                                             19. RESPONDEAT SUPERIOR
11                                               LIABILITY OF CITY OF
                                                 SYRACUSE
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13
                                        JURY TRIAL DEMANDED
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          ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 2
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                      ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 4
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 1                                         I. INTRODUCTION
 2       1. This is a complaint for Civil Rights violations, including claims for excessive force,
 3   assault, battery and false arrest of Plaintiff Alonzo Grant, and for Intentional and Negligent
 4   Infliction of Emotional Distress and Loss of Consortium for his wife, Mrs. Stephanie Grant.
 5   PLAINTIFFS, ALONZO GRANT AND STEPHANIE GRANT, by their attorneys, JESSE P.
 6   RYDER, ESQ. and CHARLES A. BONNER ESQ., allege as their Complaint for Damages and
 7   Civil Rights violations the following facts, and facts upon information and belief.
 8
                                               II. PARTIES
 9
        2. PLAINTIFFS, ALONZO GRANT AND STEPHANIE GRANT, are citizens of the
10
     United States and residents of the City of Syracuse.
11
         3. Defendants DAMON LOCKETT AND PAUL MONTALTO, BRIAN
12
     NOVITSKY, and CHIEF OF POLICE FRANK FOWLER, are police officers employed by
13
     Defendant City of Syracuse.
14
          4. Defendant City of Syracuse POLICE DEPARTMENT is a division of the City of
15
     Syracuse governmental organization of the State of New York.
16
          5. Defendant City of Syracuse is a governmental organization of the State of New
17
     York.
18

19                                      III. DOE DEFENDANTS
20      4. Plaintiffs do not know the true names and capacities, whether individual, corporate,
21   associate, or otherwise of DEFENDANT Does 1 through 200 inclusive, and therefore sue these
22   Defendants by such fictitious names. Plaintiffs will amend their complaint to allege their true
23   names and capacities when this has been ascertained.
24
                                     IV. RESPONDEAT SUPERIOR
25
     Respondeat Superior
26
        5. Mr. Alonzo Grant claims that the City of Syracuse is liable under the theory of
27
     respondeat superior for Defendants Police Officer Lockett and Police Officer Paul Montalto’s
28




                 ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 5
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 1   assault on Plaintiff. Cities may be held vicariously liable for state law torts committed by police
 2   officers under a theory of respondeat superior. See Williams v. City of White Plains, 718 F.
 3   Supp. 2d 374, 381 (S.D.N.Y. 2010). Therefore, the respondeat superior claim against the City of
 4   Syracuse regarding Defendants Police Officer Lockett and Police Officer Paul Montalto are valid
 5   claims, establishing liability against the City of Syracuse.
 6
                          V. EXHAUSTION OF ADMINISTRATIVE REMEDIES
 7
     Notice of Claim (GML 50-E)
 8
          6. Plaintiffs have complied with all conditions precedent, including filing of a Notice of
 9
     Claim under General Municipal Law § 50-e, which only applies to State Law Causes of Action;
10
     these requirements are not applicable to Plaintiffs’ first cause of action asserted pursuant to 42.
11
     U.S.C. §1983 ["[A]; notice of claim is not a condition precedent to a cause of action, asserted
12
     pursuant to 42 USC § 1983, which seeks to recover damages premised on violations of federal
13
     civil or constitutional rights under color of state law"] 1 ;
14

15                                             VI. JURISDICTION
16         7. This Court has jurisdiction over this lawsuit because the suit arises under 42
17   U.S.C. § 1983 and asserts facts showing that Defendants, and each of them, acted willfully,
18   deliberately and pursuant to a policy, custom and practice, and with reckless disregard of Mr. and
19   Mrs. Grant’s established Federal and State Constitutional rights.
20
                                                    VII. VENUE
21
          8. Venue is proper in this district under 28 U.S. C. § 1391 (b) (1) because Defendants reside
22
     in this district. Venue is also proper in this district under 28 U.S.C§1391 (b) (2) because the
23
     events, acts and omissions giving rise to this claim occurred in this district.
24

25                                       VIII. STATEMENT OF FACTS
26        9. On Saturday, June 28, 2014, Alonzo Grant came home from work at his second job and
27   planned a barbeque with his family. A peaceful man, beloved in his neighborhood, he had never
28
     1
         see Felder v Casey, 487 U.S. 131; Rowe v NYCPD, 85 AD3d 1001, 1002 [2d Dept 2011]


                    ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 6
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 1   had any run-in of any kind with police in his 53 years. Rather, he was and is a peace keeper in
 2   the neighborhood. He cuts everyone’s lawns and is highly respected in his community. At around
 3   7:00 p.m., he tried, in vain, to defuse a noisy verbal argument occurring outside his home
 4   between his then pregnant adult daughter and a female neighbor. Desperate for some peace and
 5   quiet and embarrassed by the commotion, he decided to call police to calm and end the
 6   argument, specifically noting in his call that he was calling about his daughter. When two
 7   Syracuse Police Officers arrived at Mr. Grant’s house, they ignored the statements by Mr. Grant
 8   and his wife that his daughter had already left and that there was no longer any need for their
 9   help.
10      10. Instead of following proper police protocol and procedure to conduct an investigative
11   interview consistent with protecting Mr. Grant’s constitutional rights, one officer, Defendant
12   Lockett, entered Mr. Grant’s house without ringing either of his two door bells, without
13   knocking and without ever asking for permission to enter. Standing inside of his home at the top
14   of his inside stairs, Mr. Grant informed Officer Lockett that his daughter had left and they no
15   longer needed the assistance of the police. Standing inside the house at the bottom of the stairs,
16   Officer Lockett firmly ordered Mr. Grant to “go outside and talk with my partner!” Mr. Grant
17   lawfully and immediately complied with the officer’s directive, walking down the stairs, past
18   Officer Lockett and out of the house, pushing the self-closing screen door open and proceeding
19   to the outside, followed by Officer Lockett.
20      11. Mr. Grant paused momentarily, standing on his landing, and proceeded walking down his
21   front steps towards the second officer, Defendant Montalto who was waiting at the bottom of the
22   outside stairs. Officer Lockett followed behind Mr. Grant through the still open door which then
23   slammed shut behind him. As soon as he had gone through the door, Officer Lockett violently,
24   and without warning or notice, charged Mr. Grant from behind, grabbed both of his arms in a
25   bear hug while Officer Montalto grabbed Mr. Grant’s feet from below, and both officers flung
26   Mr. Grant viciously over the four-foot high, black, wrought iron railing of his front porch,
27   slamming him four-feet down to the ground. Frightened, shocked, confused, and in a mental state
28   of total terror, Mr. Grant landed on the ground face up. Officer Lockett immediately began


                  ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 7
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 1   striking Mr. Grant, raining fist blows to Mr. Grant’s face and head. Officer Montalto, having
 2   previously put on his black “weighted gloves”, jumped in on top of Mr. Grant and also began
 3   violently punching, hitting, and beating Mr. Grant in his head, ribs, and face. The officers forced
 4   Mr. Grant over onto his stomach, trapping his left arm underneath his body, while demanding
 5   that he put his hands behind his back. This was impossible, as his left arm was trapped under his
 6   body, with Officer Montalto kneeling on his back.
 7          12. By his own admission, Officer Lockett struck “…A. Grant in the head and face
 8   area…” “…I struck him four times at first….” Officer Lockett also admitted “…I had to
 9   strike him four more times…” and “…I subsequently had to strike A. Grant two more
10   times in the face….” Officer Montalto, having already put on his black leather “weighted
11   gloves”, charged forward and dropped his knees with all of his body weight on Mr. Grant’s back
12   while Officer Lockett held him in a choke hold. Officer Montalto then pulled back his left arm
13   and struck the side of Mr. Grant’s head repeatedly with his balled fist. The officers’ repeated
14   blows resulted in bloodying Mr. Grant’s face, breaking his nose, splitting his lip, cutting a gash
15   in his face and causing a concussion. 2 In addition, Office Montalto struck Mr. Grant with his
16   knees in the thigh.
17         13. The two officers then falsely charged Mr. Grant with Resisting Arrest, Disorderly
18   Conduct and Harassing and Annoying Police.
19
     Police Officer Paul Montalto’s False Perjured Police Report Deposition
20
           14. Officer Montalto’s Police Report Deposition: “Upon arrival we spoke to the
21
     complainant, Alonzo Grant who was standing in the front yard of the residence.” This Is A
22
     Willfully Perjured False Statement. The True Facts: Mr. Grant was never out of his home, “his
23
     castle”. He was never standing in the front yard.
24
              Proof Testimony:
25

26

27

28   2
         See Exhibit 1-3, photos of Mr. Grant’s injuries.



                     ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 8
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 1              1) PO Lockett: “When I arrived, I heard a male voice from the above residence yell
 2                 through the screen door, “We don’t need the police.” I approached the front door
 3                 and was met by A. Grant.”
 4              2) Mr. Grant: “He [The black Officer] opened the door and stepped right in. I don’t
 5                 know why he came in. I have two door bells. He did not knock. He walked in my
 6                 house. I was standing at the top [of the stairs].”
 7              3) Mrs. Stephanie Grant: “One officer [black officer] stepped into the house; he stood
 8                 on the first step. I stood up from my chair.”
 9              4) Witness Cory McMullin, Neighbor: Sharon Hayes, Neighbor: “The black Officer
10                 came first. They came 1-2 minutes apart. Alonzo came to the door”.
11   The Proven Credible Facts: Mr. Grant was inside his home when the officers arrived. He was
12   not “standing in the front yard of the residence.”
13      15. Officer Montalto’s Police Report Deposition: “…We observed that Grant appeared
14   highly agitated. Grant stated "We don't need the fucking police my daughter is gone…."
15   This Is A Willfully Perjured False Statement. The True Facts: Mr. Grant did not call them
16   “fucking police” or swear at the police at any time. P.O. Montalto did not observe Mr. Grant at
17   all until Mr. Grant left the inside of his home.
18      Proof Testimony:
19          1) PO Lockett: “A. Grant said, “Officer she left,” and then started yelling at his wife,
20              Stephanie Grant. He went back up his stairs which was in the entry way as you walk
21              through the door and began yelling. He then came back down to the front door and
22              said, “Officer, this is all because of my daughter, I don’t want her here anymore.”
23          2) Mr. Grant: “I was talking to my wife about taking care of the house. We were not
24              arguing. I was not angry.”
25          3) Stephanie Grant: “We were talking. He was not yelling. Alonzo has a loud voice.”
26          4) Witness Corey McMullin: “Alonzo was tellin’ them his daughter was gone and they
27              didn’t need them no more. If I’m not mistaken his wife yelled the same out the
28              window.”


                  ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 9
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 1           5) Witness Sharon Hayes: “Alonzo said, never mind, we don’t need you because my
 2                  daughter left. I think Alonzo’s wife said it too, but the black officer kept coming and
 3                  went right in, no knock.”
 4   The Proven Credible Facts: Mr. Grant did not swear (“fucking police”) at the Officers; did not
 5   speak to PO Montalto; Mr. Grant talked only to P.O. Lockett from a position inside his house.
 6       16. Officer Montalto’s Police Report Deposition: “Grant then began to walk back inside
 7   the house. Grant then began yelling at his wife Stephanie Grant who was inside of the
 8   residence.” This Is A Willfully Perjured False Statement. The True Facts: Mr. Grant and Mrs.
 9   Grant both were at all times inside the house together. Mr. Grant was not outside the house until
10   ordered to go outside by Officer Lockett.
11       Proof Testimony:
12           1) PO Lockett Deposition: “He went back up his stairs which was in the entry way as
13                  you walk through the door and began yelling.”
14           2) Mr. Grant: “I was talking to Stephanie about the house. The black officer was not
15                  saying anything regarding why he came into my house. He walked into my house. He
16                  opened the door and stepped right in. I didn’t invite him in. I have two door bells. He
17                  did not ring either.”
18           3) Mrs. Stephanie Grant: “We were talking. Alonzo was not yelling. Alonzo has a loud
19                  voice.”
20           4) Witness Corey McMullin: “His wife ended up saying something to him and he leaned
21                  back in the house and walked back in the house. And when the police walked in the
22                  house; the police walked in the house behind him. The black officer walked in the
23                  house.
24           5) Witness Sharon Hayes: “Alonzo was upset but at his daughter. He’s not a
25                  confrontational person. I could not hear what was said inside the house”
26   The Proven Credible Facts: Mr. Grant was inside the house the entire time and was not yelling
27   at his wife.
28




                    ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 10
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 1      17. Officer Montalto’s Police Report Deposition: “We then asked Grant to calm down
 2   and speak to us but he continued to yell and violently flail his arms towards his wife.” This
 3   Is A Willfully Perjured False Statement. The True Facts: P.O. Montalto did not speak to Mr.
 4   Grant at any time because he was not inside the house.
 5      Proof Testimony:
 6          1) PO Lockett Deposition: “At that time I said to A. Grant to please go outside and talk
 7              with my partner.”
 8          2) Mr. Grant: “He didn’t really say anything. He just said to go outside to talk to his
 9              partner. He asked me to go outside, so that’s what I did. I didn’t say anything. I went
10              right down, within 2 seconds.”
11          3) Mrs. Stephanie Grant: “Alonzo was not yelling. The [black] officer did not try to
12              calm him down.”
13          4) Corey McMullin: “The black officer walked in the house. The white officer was
14              standing right here by the bottom of the stairs.”
15          5) Sharon Hayes: “The white officer never even went in the house.”
16   The Proven Credible Facts: Mr. Grant only went outside of his home when ordered to do so by
17   Officer Lockett and did not speak to Officer Montalto. Mr. Grant also did not yell or violently
18   flail his arms towards his wife.
19   The Proven Credible Facts: Officer Montalto never went inside of Mr. Grant’s home and did
20   not “…asked Grant to calm down….” Neither Officer asked Mr. Grant to calm down. Mr. Grant
21   did not “yell and violently flail his arms towards his wife.”
22       18. Officer Montalto Police Report Deposition: “Grant then walked pass both PO
23   Lockett and I and violently punched the front door of the house.” This Is A Willfully
24   Perjured False Statement. The True Facts: P.O. Montalto was not inside the house. Mr. Grant
25   could not walk past him. He only walked by P.O. Lockett. Montalto could not have observed Mr.
26   Grant “violently” punching anything while Montalto was inside the house because Montalto was
27   never inside the house.
28      Proof Testimony:


                 ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 11
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 1      1) PO Lockett Deposition: “Grant stormed down the stairs and was still yelling. As he
 2          approached the front door he punched the door causing it to swing open… I followed A.
 3          Grant outside and as we began walking down the outside…” [Note: P. O. Lockett says, “I
 4          [not we] followed A. Grant…]
 5      2) Mr. Grant: I went down the stairs and pushed the door open and it hit the railing.” [Note:
 6          The screen door is routinely pushed or “punched” by everyone in the home. It has a
 7          broken spring that causes it to swing open rapidly and lets it hit the railing every time it is
 8          opened.]
 9      3) Stephanie Grant: “Alonzo was calm, not yelling. That is when the police went outside
10          with Alonzo. He ran out, charged out, grabbed Alonzo from behind.”
11      4) Corey McMullin: “He [Alonzo] was just walking out of the house. He didn’t have an
12          angry or mad expression. He wasn’t mad or aggravated, he was like sad.”
13      5) Sharon Hayes: “Alonzo walked out of the house. He pushed the door open and it hit the
14          railing. It’s a metal door and a metal railing. I hear that sound all the time, the kids when
15          they’re playing, or the wind.”
16   The Proven Credible Facts: Mr. Grant did not walk past Officer Montalto because Montalto
17   never entered Mr. Grant’s home, nor did Mr. Grant “violently” punch the door.
18       19. Officer Montalto’s Police Report Deposition: “PO Lockett then exited the house
19           and PO Lockett ordered Alonzo to stop because he was under arrest for domestic
20           related disorderly conduct.” This Is A Willfully Perjured False Statement. The True
21           Facts: PO Lockett did not warn Mr. Grant that he was going to put him in handcuffs or
22           that he was planning to arrest him at any time. He grabbed both of Mr. Grant’s arms
23           from behind in a bear hug without any warning.
24   Proof Testimony:
25          1) PO Lockett Deposition: “As a result of A. Grant’s behavior, I decided to place him in
26             handcuffs. I followed A. Grant outside and as we began walking down the outside, I
27             grabbed both of his arms and told him to put his hands behind his back.”
28




                ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 12
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 1          2) Mr. Grant: “I didn’t close the door. It closes on its own. I wasn’t looking back, the PO
 2             was behind me. That’s when the cop jumped on me.”
 3          3) Stephanie Grant: “When the Officer Lockett grabbed Alonzo, I walked down the
 4             stairs. When I got to the door, I was seeing my husband thrown over the railing down
 5             to the ground.”
 6          4) Witness Corey McMullin: “The black cop came running out and jumped on Alonzo’s
 7             back for no reason.”
 8          5) Witness Sharon Hayes: “Alonzo had his back to the officer. The officer came
 9             charging out of the house, jumped on his back and grabbed Alonzo’s arms from
10             behind.”
11   The Proven Credible Facts: PO Lockett grabbed both of Mr. Grant’s arms. Officer Lockett did
12   not tell Mr. Grant to put his hands behind his back. Officer Lockett grabbed Mr. Grant’s arms
13   from behind.
14      20. Officer Montalto’s Police Report Deposition: “PO Lockett then attempted to grab
15   Alonzo by the arm to place him in handcuffs.” This Is A Willfully Perjured False Statement.
16   The True Fact: PO Lockett grabbed both of Mr. Grant’s arms and locked them in a bear hug
17   from behind without verbal warning of any kind.
18   Proof Testimony:
19      1) PO Lockett Deposition: “I grabbed both of his arms and told him to put his hands behind
20          his back.”
21      2) Mr. Grant: “I didn’t close the door [it closes on its own]. I wasn’t looking back, the PO
22          was behind me. That’s when the cop jumped on me.”
23      3) Stephanie Grant: “When he [the officer] grabbed Alonzo, I walked down the stairs. When
24          I got to the door, I was seeing my husband go over the railing down to the ground.”
25      4) Corey McMullin: “As Alonzo was coming down the stairs, he got to about midway down
26          the stairs, when the black officer came out behind him, so by the time Alonzo hit the
27          bottom of the steps, he kind of like dived on his back, kind of wrestler’s style fashion.
28




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 1          Slung him on the ground over the railing. He was blindsided. Never saw it coming. He
 2          wasn’t even aware of what was happening.”
 3      5) Sharon Hayes: “Alonzo had his back to the officer. The officer came charging out of the
 4          house, jumped on his back and grabbed Alonzo’s arms from behind.”
 5   The Proven Credible Facts: PO Lockett did not attempt to grab Mr. Grant by the arm; he in
 6   fact abruptly, without notice or request, locked up both of Mr. Grant’s arms behind his back and
 7   threw Mr. Grant over the black wrought iron stair railing. Officer Lockett did not attempt to put
 8   him in handcuffs as he did not have his handcuffs out, not did the officer ask Mr. Grant to put his
 9   hands behind his back to be handcuffed.
10      21. Officer Montalto’s Police Report Deposition: “Alonzo then attempted to get away
11   from PO Lockett and they both went out of my visual sight.” This Is A Willfully Perjured
12   False Statement. The True Fact: Mr. Grant never tried to get away from PO Lockett, nor did he
13   try to engage him. Both PO Lockett and Mr. Grant were in plain view of PO Montalto since he
14   was standing right in front of them at the bottom of the outside stairs, never having been inside
15   the house.
16   Proof Testimony:
17      1) PO Lockett: “A. Grant said to me, “get your hands off of me” and then turned violently
18          and grabbed me around my waist.” [Note: Mr. Grant had no way of turning while both
19          his arms were locked in a bear hug behind his back.]
20      2) Mr. Grant: “I wasn’t fighting with them. He grabbed me, my arms behind my back, the
21          other one grabbed my feet and they threw me over.”
22      3) Stephanie Grant: “Alonzo did not fight with the police. When I got to the door, I was
23          seeing my husband go over the railing down to the ground.”
24      4) Corey Mc Mullin: “He wasn’t even aware of what was happening. He didn’t argue with
25          the police. [He] slung him to the ground over the railing. The black officer was on top of
26          him. The white officer ran in and the first thing he did was punch him.”
27      5) Sharon Hayes: “Alonzo never turned around at all. The officer swung him over the
28          railing; they both went over with the black officer on top.”


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 1   The Proven Credible Facts: Mr. Grant never tried to “get away” and Officer Montalto never
 2   lost sight of Mr. Grant nor Officer Lockett, as both Officer Lockett and Mr. Grant were right in
 3   front of Officer Montalto, who immediately began punching Mr. Grant.
 4       22. Officer Montalto’s Police Report Deposition: “I then exited the house and observed
 5   PO Lockett and Alonzo Grant in a physical altercation….” This Is A Willfully Perjured False
 6   Statement. The True Fact: PO Montalto never exited the house because he was not in the house.
 7   He could not have observed a physical altercation because he was fully occupied with battering
 8   Mr. Grant.
 9   Proof Testimony:
10                1) Mr. Grant: “He [black officer] walked in my house. He asked me to go outside to
11                   talk to his partner.”
12                2) Stephanie Grant: “One [black] officer stepped into the house, stood on the first
13                   step.”
14                3) Corey McMullin: The black officer walked in the house. The white officer was
15                   standing right here by the bottom of the steps.”
16                4) Sharon Hayes: “The white officer never even went in the house.”
17   The Proven Credible Fact: Officer Montalto never observed Officer Lockett and Mr. Grant in a
18   physical altercation, which implies a mutual combat. Rather, Officer Lockett grabbed Mr. Grant
19   and threw him over the railing. Officer Montalto observed Officer Lockett’s assault while
20   standing outside of the house on the ground, where he had been during the entire time of this
21   incident.
22   The Proven Credible Facts: Since Officer Montalto was never inside of Mr. Grant’s home, he
23   perjured himself when he testified that he “…then exited the house and observed PO Lockett and
24   Alonzo Grant in a physical altercation….”
25       23. Officer Montalto’s Police Report Deposition: “Grant had his arms wrapped
26           around PO Lockett's waist….” This Is A Willfully Perjured False Statement. The
27           True Fact: Mr. Grant’s arms were locked behind him until he was thrown across the
28




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 1           railing to the ground. He never turned around to face PO Lockett until he landed face-up
 2           on the ground and was held in a choke hold and turned on his face.
 3   Proof Testimony:
 4      1) Mr. Grant: “I wasn’t fighting with them. I did not resist.”
 5      2) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
 6          officer was punching him too. Both were holding him, both were punching him. Alonzo
 7          was trying to protect his face with his right hand.”
 8      3) Corey McMullin: “There was a lot of grabbing and choking. They had his arms bent all
 9          ways. His arm was bleeding. I think his mouth too. The officers were throwing him
10          around. He did not resist. I was yelling to keep the video going.”
11   The Proven Credible Facts: Mr. Grant never had his arms wrapped around Officer Lockett’s
12   waist. Officer Lockett had Mr. Grant’s arms bent around behind his back.
13      24. Officer Montalto’s Police Report Deposition: “Alonzo and PO Lockett were both
14   lying on their sides, facing each other…” This Is A Willfully Perjured False Statement. The
15   True Fact: Mr. Grant landed face-up, with his left arm trapped beneath him, making it
16   impossible for him to grasp PO Lockett around the waist.
17   Proof Testimony:
18      1) PO Lockett: “…We began rolling around on the ground….”
19      2) Mr. Grant: “I wasn’t fighting with them. I did not resist.”
20      3) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
21          officer was punching him too. Both were holding him, both were punching him. Alonzo
22          was trying to protect his face with his right hand.”
23      4) Corey McMullin: “There was a lot of grabbing and choking. They had his arms bent all
24   ways. His arm was bleeding. I think his mouth too. The officers were throwing him around. He
25   did not resist. I was yelling to keep the video going.”
26   The Proven Credible Facts: Officer Lockett and Mr. Grant were not lying on their sides facing
27   each other. Rather, Officer Lockett and Officer Montalto threw Mr. Grant over the railing,
28




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 1   causing Mr. Grant to land face-up and Officer Lockett jumped on top of Mr. Grant and began
 2   punching, grabbing, and choking Mr. Grant, who did not resist.
 3      25. Officer Montalto’s Police Report Deposition: “…and it appeared that Alonzo was
 4   trying to roll and get on top of PO Lockett….” This Is A Willfully Perjured False Statement.
 5   The True Fact: At no time was Mr. Grant in any position to roll on top of PO Lockett.
 6   Proof Testimony:
 7      1) Mr. Grant: “I wasn’t fighting with them. I did not resist.”
 8      2) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
 9          officer was punching him too. Both were holding him, both were punching him. Alonzo
10          was trying to protect his face with his right hand.”
11      3) Corey McMullin: “If I’m not mistaken he had a knee on his back.”
12   The Proven Credible Facts: Officer Lockett was holding, choking and punching Mr.
13   Grant in the face, while Officer Montalto was holding and punching Mr. Grant. The officers
14   rolled Mr. Grant over onto his stomach, trapping his left arm, while Mr. Grant attempted to
15   protect his face with his right hand and did not fight the officers.
16      26. Officer Montalto’s Police Report Deposition: “I then grabbed Alonzo's left arm and
17   tried to pry it away from PO Lockett….” This Is A Willfully Perjured False Statement.
18   The True Fact: Mr. Grant was laying face-down, with his left arm trapped beneath him, using
19   his right arm to try to shield his face from relentless blows to the head by both officers. He had
20   no way of holding PO Lockett around his waist so that his arm would need to be pried off him.
21   Proof Testimony:
22      1) PO Lockett. “I was finally able to get him to release his grasp from around my waist and
23          PO Montalto was able to grab his left arm and place it behind his back.” [Note: PO
24          Montalto injured Mr. Grant’s left arm severely by contorting the arm and pulling
25          ligaments and the elbow joint, causing abrasions and bleeding.]
26      2) Mr. Grant: “I did not resist.”
27      3) Stephanie Grant: “Alonzo was trying to protect his face with his right hand.”
28      4) Corey McMullin: “They had his arms bent all ways…At no time did he resist.”


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 1   The Proven Credible Facts: Mr. Grant was never holding on to Officer Lockett’s waist.
 2   Officer Montalto did not pry Mr. Grant’s arm away from Officer Lockett because Officer
 3   Montalto admits that he grabbed Mr. Grant’s left arm, which was trapped underneath Mr. Grant,
 4   and Mr. Grant’s right arm was shielding his face.
 5       27. Officer Montalto’s Police Report Deposition: “I was able to pull Alonzo arm off of
 6   PO Lockett and he continued to resist my efforts to place his arm behind his back…” This
 7   Is A Willfully Perjured False Statement. The True Fact: Mr. Grant did not resist in any way, he
 8   simply attempted to protect his face from the vicious blows. Mr. Grant’s arm was not grasping
 9   PO Lockett’s waist. It would have been a physical impossibility.
10   Proof Testimony:
11      1) PO Lockett: “… [Grant] kept trying to pull his left arm away from PO Montalto.”
12      2) Mr. Grant: “I did not resist.”
13      3) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
14          officer was punching him too. Both were holding him, both were punching him.”
15      4) Corey McMullin: “…the first thing he did was punch him, looked like in the head area.
16          He kept bringing it [his fist] back, I’d say about five times.”
17   The Proven Credible Facts: Officer Montalto did not pull Mr. Grant’s arm off of Officer
18   Lockett because Mr. Grant never grabbed Officer Lockett, as he was being repeatedly punched
19   with his right hand attempting to shield his face, while his left arm was trapped beneath his body.
20      28. Officer Montalto’s Police Report Deposition: “I then punched Alonzo in the left side
21   the face with my right hand two times in an attempt to get him to comply…” This Is A
22   Willfully Perjured False Statement. The True Fact: PO Montalto struck Mr. Grant more than
23   two times and at least four to five times with “weighted gloves”.
24   Proof Testimony:
25      1) PO Lockett Deposition: “I struck him four times at first….while still on the ground I had
26          to strike him four more times…I subsequently had to strike A. Grant two more times in
27          the face…”
28      2) Mr. Grant: “I wasn’t fighting with them.”


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 1       3) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
 2           officer was punching him too. Both were holding him, both were punching him.”
 3       4) Corey McMullin: “…the first thing he did was punch him, looked like in the head area.
 4           He kept bringing it [his fist] back, I’d say about five times. If I’m not mistaken he had his
 5           knee on his back.”
 6   The Proven Credible Facts: Officer Montalto struck Mr. Grant more than two times and at least
 7   four to five times in the face.
 8       29. Officer Montalto’s Police Report Deposition: “I then forced Alonzo's left arm
 9   behind his back and placed it in handcuffs.” This Is A Willfully Perjured False Statement.
10   The True Fact: PO Montalto used brute force to bend back Mr. Grant’s left arm.
11   Proof Testimony:
12       1) Mr. Grant: “I did not resist.”
13       2) Stephanie Grant: “Alonzo was trying to protect his face with his right hand.”
14       3) Corey McMullin: “They had his arms bent all ways…At no time did he resist.”
15   The Proven Credible Facts: Mr. Grant did not resist and the officers tore his arm from
16   underneath his stomach by force and forced it behind his back.
17       30. Officer Montalto’s Police Report Deposition: “I then ordered Alonzo to place his
18   other hand behind his back and he would not comply…”This Is A Willfully Perjured False
19   Statement. The True Fact: Mr. Grant’s left arm was trapped underneath him and immobilized,
20   with one officer holding him in a choke hold, the other kneeling on top of his back.
21   Proof Testimony:
22       1) PO Lockett: “He continued to resist by laying on his right arm…”
23       2) Mr. Grant: ‘I did not resist.”
24       3) Stephanie Grant: “Alonzo was trying to protect his face with his right hand.”
25       4) Cory McMullin: “They had his arms bent all ways…At no time did he resist.”
26   The Proven Credible Facts: Mr. Grant did comply and put his right arm behind his back and he
27   did not lie on his right arm. As is shown on the video of the incident, Officer Lockett has Mr.
28




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 1   Grant in a death choke hold while Mr. Grant’s right arm is free. Mr. Grant immediately complied
 2   by putting his right hand behind his back upon the command.
 3      31. Officer Montalto’s Police Report Deposition: “I then struck Alonzo in the left thigh
 4   with a right knee strike in another attempt to get him to comply with my orders.” This Is A
 5   Willfully Perjured False Statement. The True Fact: Officer Montalto struck Mr. Grant in his
 6   face, head, body, and thigh without giving Mr. Grant any orders.
 7   Proof Testimony:
 8      1) PO Lockett: “I subsequently had to strike A. Grant two more times in the face, at which
 9          time he stopped resisting and lifted up off his right arm….”
10      2) Mr. Grant: “I did not resist.”
11      3) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
12          officer was punching him too. Both were holding him, both were punching him.”
13      4) Corey McMullin: “The officers were throwing him around, I was yelling to keep the
14          video going.”
15   The Proven Credible Facts: Mr. Grant did not resist. He was never told he was under arrest and
16   the officers, without probable cause, began to strike, hit, punch, and beat Mr. Grant, including
17   placing him in a death choke hold. Subsequent to this brutality, the officers ordered Mr. Grant to
18   place his hand behind his back and he complied.
19      32. Officer Montalto’s Police Report Deposition: “I then ordered him to put his other
20   hand behind his back and he finally complied.” This Is A Willfully Perjured False Statement.
21   The True Fact: Mr. Grant finally managed to extricate his left arm. At no time was he resisting.
22   Proof Testimony:
23      1) Mr. Grant: “I did what they asked me to do.”
24      2) Stephanie Grant: “He did not swing, punch, strike, annoy, do anything illegal.”
25      3) Corey McMullin: “The cops were just punching him in the face for no reason at all.”
26   The Proven Credible Facts: Mr. Grant always complied with the officers’ demands, which
27   came only after they had beaten Mr. Grant.
28




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 1      33. Officer Montalto Police Report Deposition: “Alonzo was placed in handcuffs
 2   without incident...” This Is A Willfully Perjured False Statement. The True Fact: Mr. Grant
 3   was placed in hand cuffs after being viciously beaten. At no time was he warned that he was
 4   being placed in handcuffs before the beating, nor was he ever advised that he was being arrested
 5   and for what reason.
 6   Proof Testimony:
 7      1) PO Lockett: “I subsequently had to strike A. Grant two more times in the face, at which
 8          time he stopped resisting and lifted up off his right arm….” [Note: A concussion, broken
 9          nose, laceration on the cheek, split lip, bruises and contusions, torn elbow ligaments and
10          severe bruising of the arm does not constitute “without incident.”]
11      2) Mr. Grant: “I was hurtin’. I was hurtin’. I got problems sleeping. I start visualizing in my
12          mind what happened.”
13      3) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
14          officer was punching him too. Both were holding him, both were punching him.”
15      4) Corey McMullin: “There was a lot of grabbing and choking. They had his arms bent all
16          ways. His arm was bleeding. I think his mouth too.”
17      5) Sharon Hayes: “I saw him when he got up, all bloody. I’m saying why’d they beat him up
18          like that? I’ve never seen him in no argument around here.”
19   The Proven Credible Facts: There was a huge incident in which the officers, without probable
20   cause or any provocation, beat Mr. Grant, who had called the police for help, to a bloody pulp
21   requiring the police to call an ambulance.
22      34. Officer Montalto’s Police Report Deposition: “I then spoke to Stephanie Grant who
23   stated that Alonzo was upset with his daughter, Alyssa Grant because Alyssa was involved
24   in a dispute with their neighbor.” This Is A Willfully Perjured False Statement. The True
25   Fact: PO Montalto never spoke to Stephanie Grant.
26   Proof Testimony:
27      1) Stephanie Grant: “No male officer spoke to me. A young white lady officer was the only
28          one who spoke to me. She interviewed me for less than two minutes. I was sitting on the


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 1          3rd step; she was standing inside the door. She wrote down my name, age and birth date,
 2          nothing else. She asked if I needed an ambulance or something because my husband beat
 3          me. And that’s when I stopped her and said my husband did not beat me or hit me, he did
 4          not lay a finger on me. She walked out saying, “We have to get this story straight.”
 5          The Proven Credible Fact: Officer Montalto gave false testimony as he did not ever speak
 6          with Ms. Stephanie Grant.
 7      35. Officer Montalto’s Police Report Deposition: “Stephanie stated that Alonzo just
 8   wanted Alyssa to leave and she left just prior to police arrival.” This Is A Willfully Perjured
 9   False Statement. The True Fact: PO Montalto never spoke to Stephanie Grant.
10   Proof Testimony:
11      1) Stephanie Grant: “No male officer spoke to me. Sergeant Novitsky did not interview me.
12          PO Montalto did not interview me.”
13   The Proven Credible Fact: Officer Montalto has given false testimony as he did not ever speak
14   with Ms. Stephanie Grant.
15
     Police Officer Lockett’s False Perjured Deposition Statements
16
        36. Officer Lockett’s Police Report Deposition: “He went back up his stairs which was
17
     in the entry way as you walk through the door and began yelling.” This Is A Willfully
18
     Perjured False Statement. The True Fact: Mr. Grant was admonishing his wife about housework
19
     and their daughter’s disruptive behavior.
20
     Proof Testimony:
21
        1) Mr. Grant: “I was not yelling. I was talking to my wife about taking care of the house.”
22
        2) Stephanie Grant: “We were talking. He was not yelling. Alonzo has a loud voice.”
23
            The Proven Credible Fact: Mr. Grant was not yelling at his wife.
24
        37. Officer Lockett’s Deposition: “A. Grant was extremely upset, he went back up the
25
     stairs and began yelling and flailing his arms violently at S. Grant and said, “I don’t care. I
26
     don’t want that bitch here anymore. I don’t care about the police, I’ll go to jail.” This Is A
27

28




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 1   Willfully Perjured False Statement. The True Fact: Mr. Grant did not make this statement. He
 2   was the one who called the police and certainly did not have any thought of going to jail.
 3      Proof Testimony:
 4      1) Mr. Grant: “This statement is false. I was not yelling or flailing my arms. I don’t even
 5             think I said anything.”
 6      2) Stephanie Grant: “We were talking. He was not yelling. Alonzo has a loud voice.”
 7   The Proven Credible Fact: Mr. Grant was not yelling at his wife, nor was he flailing his arms at
 8   all. Mr. Grant did not call his daughter a “bitch.” Nor did he say “I don’t care about the police,
 9   I’ll go to jail.” Mr. Grant has never been arrested in his 53 years and is proud of his unblemished
10   record.
11      38. Officer Lockett’s Police Report Deposition: “Grant stormed down the stairs and
12   was still yelling.” This Is A Willfully Perjured False Statement. The True Fact: Mr. Grant
13   walked down the stairs at PO Lockett’s order, promptly and obediently.
14   Proof Testimony:
15      1) Mr. Grant: “When he asked me to go outside to talk to his partner I went down the stairs
16             and pushed the door open and it hit the railing. That’s what he asked me to do, that’s
17             what I did. I don’t even think I said anything.”
18      2) Stephanie Grant: “That is when the police went outside with Alonzo.”
19      3) Corey McMullin: “He was just walking out of the house. He didn’t have an angry or mad
20             expression. He wasn’t mad or aggravated, he was like sad.”
21   The Proven Credible Facts: Mr. Grant complied with Officer Lockett’s instruction and calmly
22   walked down the stairs to speak with Officer Montalto.
23      39. Officer Lockett’s Police Report Deposition: “I followed A. Grant outside and as we
24   began walking down the outside, I grabbed both of his arms and told him to put his arms
25   behind his back.” This Is A Willfully Perjured False Statement. The True Fact: PO Lockett
26   grabbed both of Mr. Grant’s arms in a bear hug behind his back. He did not tell Mr. Grant to put
27   his arms behind his back.
28   Proof Testimony:


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 1       1) PO Montalto: “PO Lockett then attempted to grab Alonzo by the arm to place him in
 2           handcuffs.”
 3       2) Mr. Grant: “I wasn’t looking back, the PO was behind me. He grabbed me, my arms
 4           behind my back, the other one grabbed my feet and they threw me over.”
 5       3) Stephanie Grant: “He [black officer] ran out, charged out, grabbed Alonzo from behind.
 6           When he grabbed Alonzo, I walked down the stairs.”
 7       4) Corey McMullin: “As Alonzo was coming down the stairs, he got to about midway down
 8           the stairs when the black officer came out behind him, so by the time the black officer
 9           came out behind him, so by the time Alonzo hit the bottom of the stairs, he kind of like
10           dived on his back, kind of wrestler style fashion.”
11       5) Sharon Hayes: “Alonzo walked out of the house, he pushed the door open and it hit the
12           railing. Alonzo had his back to the officer. The officer came charging out of the house,
13           jumped on his back and grabbed Alonzo’s arms from behind.”
14   The Proven Credible Facts: Officer Lockett grabbed both of Mr. Grant’s arms, forcing them
15   behind his back while Officer Montalto grabbed his feet and they both threw him over the railing
16   without ordering him to put his hands behind his back or announcing that he was under arrest.
17       40. Officer Lockett’s Police Report Deposition: “A. Grant said, “get your hands off of
18   me”, and then he turned violently and grabbed me around my waist.”This Is A Willfully
19   Perjured False Statement. The True Fact: Mr. Grant had no chance to say anything. He was not
20   able to turn around because both his arms were behind his back and he was being flung across
21   the railing.
22   Proof Testimony:
23       1) PO Montalto: “Alonzo then attempted to get away from PO Lockett and they both went
24           out of my visual sight.” [Note: PO Montalto was standing right in front of them at the
25           bottom of the stairs.]
26       2) Mr. Grant: “I wasn’t fighting with them. I wasn’t looking back, the PO was behind me.
27           He grabbed me, my arms behind my back, the other one grabbed my feet and they threw
28           me over.”


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 1      3) Stephanie Grant: “Alonzo did not fight the police.”
 2      4) Corey McMullin: “He was blindsided. He never saw it coming. He wasn’t even aware of
 3          what was happening.”
 4      5) Sharon Hayes: “Alonzo never turned around at all.”
 5   The Proven Credible Fact: Mr. Grant did not turn around at all. Rather, Officer Lockett
 6   grabbed his arms, forcing them behind his back, while Officer Montalto grabbed his feet and
 7   both officers threw him over the railing and began to beat him.
 8      41. Officer Lockett’s Police Report Deposition: “We went down the stairs and then both
 9   fell to the ground in the front lawn.” This Is A Willfully Perjured False Statement. The True
10   Fact: PO Lockett flung Mr. Grant across the railing and followed.
11   Proof Testimony:
12      1) PO Montalto: “Alonzo then attempted to get away from PO Lockett and they both went
13          out of my visual sight.” [Note: PO Montalto was standing right in front of them at the
14          bottom of the stairs. And if indeed Alonzo had attempted to get away, how would PO
15          Montalto have seen that if they were out of his visual sight? Not only that, but Alonzo
16          would have run right into Officer Montalto]
17      2) Mr. Grant: “He grabbed me, my arms behind my back, the other one grabbed my feet and
18          they threw me over.”
19      3) Stephanie Grant: “When I got to the door, seeing my husband go over the railing down to
20          the ground.”
21      4) Corey McMullin: “Slung him on the ground over the railing. The black officer was on top
22          of him.”
23   The Proven Credible Fact: Officer Lockett and Mr. Grant did not “fall to the ground.” Instead,
24   Officer Lockett grabbed his arms, forcing them behind his back, while Officer Montalto grabbed
25   his feet and both officers threw him over the railing and began to beat him, without probable
26   cause or provocation.
27      42. Officer Lockett’s Police Report Deposition: “I yelled back at A. Grant and told him
28   to let me go and to put his hands behind his back once again. He refused.” This Is A


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 1   Willfully Perjured False Statement. The True Fact: PO Lockett did not speak to Mr. Grant. He
 2   rolled him on his face and held him with both hand around his neck in a death choke hold. PO
 3   Montalto struck and beat him repeatedly.
 4   Proof Testimony:
 5      1) PO Montalto: “Alonzo then attempted to get away from PO Lockett and they both went
 6          out of my visual sight.” [Note: PO Montalto was standing right in front of them at the
 7          bottom of the stairs.]
 8      2) Mr. Grant: “I wasn’t fighting with them.”
 9      3) Stephanie Grant: “Alonzo did not fight with the police.”
10      4) Corey McMullin: “He didn’t argue with police. At no time did he resist. He wasn’t even
11          aware of what was happening…The police were never saying anything to Alonzo. He
12          was only groaning.”
13   The Proven Credible Facts: Mr. Grant did not refuse any command by either officer. The
14   officers did not give Mr. Grant a command until after they had thrown him over the railing and
15   beaten him, at which point they beat him, ripping his left arm from under his body, and ordered
16   him to place his right hand behind his back, which he did.
17      43. Officer Lockett’s Police Report Deposition: “We began rolling around on the
18   ground, and I tried to get A. Grant’s arms from around my waist by pushing them back,
19   however, he would not release his grasp.” This Is A Willfully Perjured False Statement. The
20   True Fact: Mr. Grant did not resist in any way.
21   Proof Testimony:
22      1) PO Montalto: “I then exited the house and observed PO Lockett and Alonzo Grant in a
23          physical altercation….” PO Montalto was never in Mr. Grant’s house. He was standing
24          at the bottom of the stairs.
25      2) Mr. Grant: “I wasn’t fighting with them.”
26      3) Stephanie Grant: “Alonzo was not fighting the police.”
27      4) Corey McMullin: The black officer was on top of him. The white officer ran in and the
28          first thing he did was punch him. Looked like in the head area…kept bringing it back.”


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 1   The Proven Credible Fact: Mr. Grant at no time grabbed Officer Lockett’s waist or any part of
 2   his body. Mr. Grant did not resist in any way the beating that was wrongfully inflicted upon him.
 3   Officer Lockett and Mr. Grant did not “began rolling around on the ground….” Rather, the
 4   Officers forcibly and violently, without probably cause, grabbed Mr. Grant, after having thrown
 5   him to the ground, and rolled him over from a face up position to a face down position, while
 6   striking him in the face and head repeatedly.
 7       44. Officer Lockett’s Police Report Deposition: “He then tried to roll over on top of me
 8   at which time I began to strike A. Grant in the head and face area to get him to release his
 9   grasp and keep him from rolling over on top of me.” This Is A Willfully Perjured False
10   Statement. The True Fact: Mr. Grant did not attempt to roll over on top of PO Lockett. He was
11   face down, with his left arm trapped, using his right arm to shield his face.
12   Proof Testimony:
13       1) Mr. Grant: “I did not try to grab the police officer. I did not resist arrest.”
14       2) Stephanie Grant: “Alonzo was not fighting the police.”
15       3) Corey McMullin: “At no time did he resist. If I’m not mistaken he had a knee on his
16           back. The officers were throwing him around. There was a lot of grabbing and choking.”
17   The Proven Credible Fact: Officer Lockett admission of striking Mr. Grant: “I began to strike
18   A. Grant in the head and face area….” Mr. Grant did not attempt to roll over on top of PO
19   Lockett. He was face down, with his left arm trapped under his body, with Officer Montalto’s
20   knee pressing on his back with his full body weight, and Mr. Grant was using his right arm to
21   shield his face.
22           46. Officer Lockett’s Police Report Deposition: “I struck him four times at first
23   while yelling at him to let me go, stop fighting and to put his hands behind his back. A.
24   Grant still did not release his grasp from my waist.” This Is A Willfully Perjured False
25   Statement. The True Fact: At no time did Mr. Grant resist, nor did he grasp the Officer.
26   Proof Testimony:
27       1) Corey McMullin: “The cops were just punching him in the face for no reason at all.”
28       2) Mr. Grant: “I did not try to grab the police officer. I did not resist arrest.”


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 1      3) Stephanie Grant: “The white officer punched him 4 or 5 times in the face. The black
 2          officer was punching him too. Both were holding him, both were punching him.”
 3          The Proven Credible Facts: Officer Lockett admission repeatedly striking Mr. Grant: “I
 4          struck him four [4] times….” At no time did Mr. Grant resist, nor did he grasp the
 5          Officer. Mr. Grant was never “fighting” the officers.
 6          47. Officer Lockett’s Police Report Deposition: “While still on the ground, I had to
 7   strike him four more times to get him to let me go.” This Is A Willfully Perjured False
 8   Statement. The True Fact: Mr. Grant did not have any hold on Officer Lockett at any time.
 9   Proof Testimony:
10      1) Corey McMullin:”The cops were just punching him in the face for no reason at all.”
11      2) Mr. Grant: “I did what they asked me to do. I did not try to grab the police officer.”
12      3) Stephanie Grant: “Alonzo was trying to protect his face with his right hand.”
13   The Proven Credible Facts: Officer Lockett admission to repeatedly striking Mr. Grant: “I had
14   to strike him four [4] more times….” Mr. Grant did not grab Office Lockett. Both cops were
15   punching Mr. Grant.
16      48. Officer Lockett’s Police Report Deposition: “A. Grant finally released his grasp
17   from around my waist, and Officer Montalto was able to grasp his left arm and place it
18   behind his back.” This Is A Willfully Perjured False Statement. The True Facts: Mr. Grant
19   never had a “grasp” around Officer Lockett’s waist, or any part of Officer Lockett’s body.
20   Proof Testimony:
21      1) PO Montalto: “I then forced Alonzo's left arm behind his back and placed it in
22          handcuffs.”
23      2) Mr. Grant: “I did what they asked me to do.”
24      3) Stephanie Grant: “Both were holding him, both were punching him.”
25      4) Corey McMullin: “They had his arms bent all ways. His arm was bleeding. I think his
26          mouth was also bleeding”
27   The Proven Credible Facts: Mr. Grant always complied with the orders of the offers to the best
28   of his ability; the Officers had Mr. Grant’s arms bent all ways and both were punching him.


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 1           49. Officer Lockett’s Police Report Deposition: “Still, while on the ground, I yelled
 2   at A. Grant to put his right arm behind his back but he still continued to resist by laying on
 3   his right arm and kept trying to pull his left arm away from P.O. Montalto.” This Is A
 4   Willfully Perjured False Statement. The True Facts: The officers rolled Mr. Grant’s body over
 5   clock-wise, trapping his left arm underneath his body. Officer Lockett began chocking Mr.
 6   Grant, while PO Montalto was kneeling with his knee and full body weight on Mr. Grant’s back.
 7   Proof Testimony:
 8       1) PO Montalto: “I then struck Alonzo in the left thigh with a right knee strike in another
 9           attempt to get him to comply with my orders.”
10       2) Mr. Grant: “I didn’t try to fight them.”
11       3) Stephanie Grant: “Alonzo was trying to protect his face with his right hand.”
12       4) Corey McMullin: “They had his arms bent all ways.”
13   The Proven Credible Facts: Office Montalto’s admission to striking Mr. Grant: “I then struck
14   Alonzo in the left thigh with a right knee strike” Mr. Grant always complied with the orders of
15   the offers to the best of his ability; the Officers had Mr. Grant’s arms bent all ways and both
16   were punching him.
17       50. Officer Lockett’s Police Report Deposition: “I subsequently had to strike A. Grant
18   two more times in the face, at which point he stopped resisting and lifted up off his right
19   arm and allowed P.O. Montalto to place both hands into handcuffs to the rear of his
20   person.” This Is A Willfully Perjured False Statement. The True Facts: Mr. Grant never
21   resisted. He was placed in handcuffs and arrested without cause and without prior warning or
22   verbal communication. He was severely beaten, never told that he was under arrest, and beaten
23   while not resisting arrest.
24   Proof Testimony:
25       1) PO Montalto: “Alonzo was placed in handcuffs without incident...”
26       2) Mr. Grant: “I hate it happened. I did what they asked me to do.”
27       3) Stephanie Grant: “The black officer said, go back in the house or I’ll Tase you, so I went
28           back in the house.”


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 1      4) Corey McMullin: “He wasn’t even aware what was happening. I yelled to keep the video
 2          going.”
 3      5) Sharon Hayes: “I saw him when he got up, all bloody. I’m saying why’d they beat him up
 4          like that? I’ve never seen him in no argument around here.”
 5   The Proven Credible Facts: Officer Lockett admission: “I subsequently had to strike A.
 6   Grant two [2] more times in the face….”
 7
     Sergeant Brian Novitsky’s False Perjured Deposition Statements
 8
            51.       Sergeant Novitsky’s Police Report Deposition: “Bleeding was minor but
 9
     appeared worse because of the profuse sweating.” This Is A Willfully Perjured False
10
     Statement. The True Facts: The evidence of the police photos taken at the scene shows that Mr.
11
     Grant suffered profuse bleeding about the face, arm and head.
12
     Proof Testimony:
13
            1. Corey McMullin: “They had his arms bent all ways. His arm was bleeding. I think his
14
            mouth was also bleeding”
15
            2. Sharon Hayes: “I saw him when he got up, all bloody.
16
            3. Exhibit 1-3, Photos of Mr. Grant’s bloody face.
17
            The Proven Credible Facts: Mr. Grant was “all bloody”. The bleeding was not
18
            “minor”.
19
        52. Sergeant Novitsky’s Police Report Deposition: “I spoke with PO Lockett and PO
20
     Montalto. Their verbal account of the Incident was properly documented and was
21
     consistent with their written account.” This Is A Willfully Perjured False Statement. The
22
     True Facts: The Police Report Depositions of PO Montalto and Lockett are 180 degrees
23
     opposite of each other: Officer Montalto said he was in Mr. Grant’s home; Officer Lockett
24
     testified he order Mr. Grant to go outside of his home and speak with Officer Montalto outside.
25
     Defendants Montalto and Lockett’s sworn accounts are widely divergent from each other and
26
     from the accounts of the witnesses.
27

28




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 1   Proof Testimony: Mr. Grant: “He [black officer] walked in my house. He asked me to go
 2   outside to talk to his partner.”
 3       1) Stephanie Grant: “One [black] officer stepped into the house, stood on the first step.”
 4       2) Corey McMullin: The black officer walked in the house. The white officer was standing
 5           right here by the bottom of the [outside] steps.”
 6   The Proven Credible Facts: Sgt. Novitsky ignored and covered-up the blatant and
 7   irreconcilable contradictions between the deposition testimony of Officers Montalto and Lockett
 8   regarding Montalto’s statement that he was inside Mr. Grant’s home and Officer Lockett’s
 9   testimony that Officer Montalto was outside of Mr. Grant’s home.
10       53. Sergeant Novitsky’s Police Report Deposition: “I spoke with Stephanie Grant,
11   Alonzo's Wife.” This Is A Willfully Perjured False Statement. The True Facts: Sergeant
12   Novitsky never spoke with Stephanie Grant, nor did he take a statement from her. Even the
13   female officer took no written statement and spoke to Stephanie Grant for less than 2 minutes.
14   Proof Testimony
15       1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me. The
16           lady officer is the only one who spoke to me. She was a white lady officer. She had a
17           note pad just to write my name, age, and birth date. She came in the house. She asked if I
18           needed an ambulance or something because my husband beat me. And that’s when I
19           stopped her and said my husband did not beat me or hit me, he did not put a finger on me.
20           She walked out saying, “We have to get this story straight.” The female officer
21           interviewed me for two minutes or less. I was sitting on the 3rd step of my stairs leading
22           into my house.”
23   The Proven Credible Facts: Sgt. Novitsky perjured himself when he swore under oath that he
24   “spoke with Stephanie Grant….”
25       54. Sergeant Novitsky’s Police Report Deposition: “She told the following; Stephanie,
26   Alonzo and Alyssa were arguing about Alyssa and the neighbor.” This Is A Willfully
27   Perjured False Statement. The True Facts: Alonzo and Stephanie were talking about keeping the
28   house clean.


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 1   Proof Testimony:
 2      1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me.”
 3   The Proven Credible Facts: Sgt. Novitsky perjured himself when he swore under oath that he
 4   “spoke with Stephanie Grant….” “Novitsky did not interview Mrs. Grant. No male officer spoke
 5   to Mrs. Grant.”
 6      55. Sergeant Novitsky’s Police Report Deposition: “Alyssa began arguing with the
 7   neighbor in front of the house, which prompted Alonzo to become irate.” This Is A Willfully
 8   Perjured False Statement. The True Facts: Alonzo was angry about the peace being disturbed
 9   by his daughter; therefore he called the police to calm the situation. He was upset and wanted the
10   police to come and restore peace.
11   Proof Testimony:
12      1) Stephanie Grant: ““Novitsky did not interview me. No male officer spoke to me.”
13   The Proven Credible Facts: Sgt. Novitsky perjured himself when he swore under oath that he
14   “spoke with Stephanie Grant….” “Novitsky did not interview Mrs. Grant. No male officer spoke
15   to Mrs. Grant.”
16      56. Sergeant Novitsky’s Police Report Deposition: “Stephanie said both Alonzo and
17   Alyssa have a bad temper and sometimes can't control themselves.” This Is A Willfully
18   Perjured False Statement. The True Facts: Stephanie Grant did not make this statement to
19   anyone. And she did not speak with Sergeant Novitsky at all.
20   Proof Testimony:
21      1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me.” That is a
22          false statement. I did not tell a police officer that.”
23      2) Sharon Hayes: “I’ve never seen him in an argument around here. He is a good citizen,
24          cuts everyone’s grass, socializes with everybody, don’t get in no confrontations. He
25          might call the police on other people.”
26   The Proven Credible Facts: Sgt. Novitsky perjured himself since he did not speak with Mrs.
27   Grant and she did not make this false statement to any police officer: “both Alonzo and Alyssa
28   have a bad temper and sometimes can't control themselves.”


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 1      57. Sergeant Novitsky’s Police Report Deposition: “Alonzo eventually called the police
 2   to have Alyssa removed from the house.” This Is A Willfully Perjured False Statement. The
 3   True Facts: Alonzo called the police to break up an argument between his daughter and a
 4   neighbor in front of the house.
 5   Proof Testimony:
 6      1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me.” That is a
 7            false statement. I did not tell a police officer that.”
 8      2) Mr. Grant: “I just wanted her to go home to give me some peace and quiet.”
 9      3) Stephanie Grant: “Alonzo called the police to have Alyssa leave from the front.”
10   The Proven Credible Facts: Sgt. Novitsky perjured himself since he did not speak with Mrs.
11   Grant.
12   58. Sergeant Novitsky’s Police Report Deposition: “Alyssa left prior to police arrival but
13   Alonzo was still irate. He was still yelling when the police arrived.” This Is A Willfully
14   Perjured False Statement. The True Facts: Mr. Grant was not yelling.
15   Proof Testimony:
16      1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me.” That is a
17            false statement. I did not tell a police officer that.”
18      2) Mr. Grant: “I was already calm.”
19      3) Stephanie Grant: “Alonzo was calm, he was not yelling. We were talking. Talking about
20            taking care of the house. Alonzo has a loud voice.”
21      4) PO Lockett: “A. Grant said, “Officer she left,” and then started yelling at his wife,
22            Stephanie Grant. He went back up his stairs which was in the entry way as you walk
23            through the door and began yelling. He then came back down to the front door and said,
24            “Officer, this is all because of my daughter, I don’t want her here anymore.” Mr. Grant
25            did not swear at the Officers, did not speak to PO Montalto; talked only to P.O. Lockett
26            who forced himself inside of Mr. Grant’s house.
27   The Proven Credible Facts: Sgt. Novitsky perjured himself since he did not speak with Mrs.
28   Grant.


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 1   59.      Sergeant Novitsky’s Police Report Deposition: “The police tried to calm him down
 2   but Alonzo was still very mad and continued yelling.” This Is A Willfully Perjured False
 3   Statement. The True Facts: The officer did not try to calm Mr. Grant down.
 4   Proof Testimony:
 5         1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me.” That is a
 6            false statement. I did not tell a police officer that.”
 7         2) Mr. Grant: “He opened the door and walked in, stepped right in. I don’t know why he
 8            came in. He walked in my house, I have two doorbells. I didn’t ask him to come in, I
 9            didn’t invite him in. He didn’t really say anything. He just said to go outside to talk to his
10            partner.”
11         3) Stephanie Grant: “One officer stepped into the house. He stood on the first step. I stood
12            up from my chair. The officer did not try to calm him down. He asked, what’s going on?
13         4) PO Lockett: “At that time I said to A. Grant to please go outside and talk with my
14            partner.”
15         5) PO Montalto: “We then asked Grant to calm down and speak to us but he continued to
16            yell and violently flail his arms towards his wife.” [Note: PO Montalto was not in the
17            house at any time and never spoke to Mr. Grant]
18   The Proven Credible Facts: Sgt. Novitsky perjured himself since he did not speak with Mrs.
19   Grant. Mrs. Grant did not make the following statement to any officer: “The police tried to
20   calm him down but Alonzo was still very mad and continued yelling.”
21         60. Sergeant Novitsky’s Police Report Deposition: “Finally, Alonzo went outside and
22         slammed the door closed behind him.” This Is A Willfully Perjured False Statement. The
23         True Facts: There was no “Finally”. When PO Lockett asked Mr. Grant to go outside to talk
24         to his partner, he did so immediately. Mr. Grant did not slam the door behind him. The door
25         closes on its own and did not close until after PO Lockett had followed Mr. Grant out.
26   Proof Testimony:
27         1) Stephanie Grant: “Novitsky did not interview me. No male officer spoke to me.” That is a
28            false statement. I did not tell a police officer that.”


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 1         2) Mr. Grant: “When he asked me to go outside to talk to his partner I went down the stairs
 2            and pushed the door open and it hit the railing. He asked me to go outside so that’s what I
 3            did. I didn’t close the door.”
 4         3) Stephanie Grant: “That is not true. That is when the police went outside with Alonzo. He
 5            ran out, charged out, grabbed Alonzo from behind.”
 6         4) Corey McMullin: Not true. He didn’t come out where you could visibly see he was
 7            angry. He was just walking out of the house. He didn’t have an angry or mad expression.
 8            He wasn’t mad or aggravated, he was like sad. The black cop PO Lockett came running
 9            out and jumped on Alonzo’s back for no reason at all.”
10         5) Sharon Hayes: “Alonzo walked out of the house. He pushed the door open and it hit the
11            railing.”
12         6) PO Lockett: “As he approached the front door he punched the door causing it to swing
13            open… I followed A. Grant outside.”
14         7) PO Montalto: ““Grant then walked pass both PO Lockett and I and violently punched the
15            front door of the house.” [Note: PO Montalto was not in the house. Mr. Grant could not
16            have walked pass [sic] him.]
17   The Proven Credible Facts: Sgt. Novitsky perjured himself since he did not speak with Mrs.
18   Grant.
19   61.      Sergeant Novitsky’s Police Report Deposition: “That is when the police went outside
20   with Alonzo.” This Is A Willfully Perjured False Statement. The True Fact: PO Lockett
21   followed Mr. Grant out of the house.
22   Proof Testimony:
23         1) Mr. Grant: “When he asked me to go outside to talk to his partner I went down the stairs
24            and pushed the door open…”
25         2) Stephanie Grant: “…ran out, charged out, grabbed Alonzo from behind.”
26         3) Corey McMullin: “Alonzo came out of the house. As Alonzo was coming down the
27            stairs, he got to about midway down the stairs, when the black officer came out behind
28            him…”


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 1      4) Sharon Hayes: “Alonzo had his back to the officer. The officer came charging out of the
 2          house, jumped on his back, grabbed Alonzo’s arms from behind.”
 3      5) PO Lockett: “I followed A. Grant outside…”
 4      6) PO Montalto: “PO Lockett then exited the house…”
 5   The Proven Credible Facts: Sgt. Novitsky perjured himself since he did not speak with Mrs.
 6   Grant and she did not make this false statement any police officer:
 7      62. Sergeant Novitsky’s Police Report Deposition: “Stephanie has trouble ambulating
 8      and stairs are difficult for her to negotiate. She was not outside when Alonzo fought
 9      with the police.” This Is A Willfully Perjured False Statement. The True Fact: Stephanie
10   Grant watched from the top of the inside stairs as Mr. Grant walked down the stairs, complying
11   with Officer Lockett’s order to “go outside and talk with my partner”, and she went down the
12   stairs and watched both officers throw Mr. Grant over the railing onto the grown. Mr. Grant did
13   not fight with the police.
14   Proof Testimony:
15      1) Stephanie Grant: “When he grabbed Alonzo, I walked down the stairs. When I got to the
16          door, seeing my husband go over the railing down to the ground. The white officer hit
17          him 4-5 times in his face. The black officer was punching him too. Both holding him;
18          both punching him. Alonzo was trying to protect his face with his right hand. The black
19          officer yelled at me to go in the house. The black officer said, go back in the house or I’ll
20          Tase you; so I went back in the house.”
21   The Proven Credible Facts: Mrs. Stephanie Grant is clearly present outside on the video taken
22   by witnesses and saw her husband. She went inside only after Mr. Grant had been beaten bloody,
23   and after the wrongful command to “go back in the house” by Officer Lockett and his assaultive
24   threat of violence to “Tase” Mrs. Grant.
25      63. Sergeant Novitsky’s Police Report Deposition: “I also spoke with Corey McMullin.
26   He told the following: He was standing on the sidewalk near Alonzo's driveway and saw
27   everything.” This Is A True Statement. The True Fact: Corey McMullin moved from his porch
28   to the front steps of Mr. Grant’s house and witnessed the entire incident.


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 1   Proof Testimony:
 2      1) Corey McMullin: “That is true.
 3      2) Sharon Hayes: “Corey and I were sitting on the porch. Cory went over there…”
 4   The Proven Credible Facts: Corey McMullin: “was standing on the sidewalk near Alonzo's
 5   driveway and saw everything.”
 6      64. Sergeant Novitsky’s Police Report Deposition: “Alonzo was very mad and came
 7   outside, slamming the door shut behind him.” This Is A Willfully Perjured False Statement.
 8   The True Facts: Mr. Grant exited the house calmly and did not slam the door behind him.
 9   Proof Testimony:
10       1) Corey McMullin: “Not true. He [Mr. Grant] didn’t come out where you could visibly see
11      he was angry. He was just walking out of the house. He didn’t have an angry or mad
12      expression. He wasn’t mad or aggravated, he was like sad.
13      2) Mr. Grant: “When he asked me to go outside to talk to his partner I went down the stairs
14      and pushed the door open and it hit the railing. He asked me to go outside so that’s what I
15      did. I didn’t close the door.”
16      3) Stephanie Grant: “That [statement by officer Novitsky] is not true.”
17      4) Sharon Hayes: “Alonzo walked out of the house.”
18      5) PO Lockett: “As he approached the front door he punched the door causing it to swing
19             open…”
20      6) PO Montalto: “Grant then walked pass both PO Lockett and I and violently punched the
21             front door of the house.” [Note: PO Montalto was never inside the house, therefore Mr.
22             Grant did not walk pass[sic] him]
23   The Proven Credible Facts: Mr. Grant, complying with Officer Lockett’s order, went outside
24   and opened his front screen door, which banged the iron railing because of a defective hinge-
25   spring.
26      65. Sergeant Novitsky’s Police Report Deposition: “The other cop (PO Montalto) came
27   running across the street and started punching Alonzo in the face for no reason at all.” This
28




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 1   Is A Willfully Perjured False Statement. The True Fact: PO Montalto was standing at the
 2   bottom of the stairs in front of Mr. Grant’s house.
 3   Proof Testimony:
 4      1) Corey McMullin: “I don’t think he ran across the street. By the time Alonzo came out he
 5          was already in the front [of the stairs].”
 6      2) Sharon Hayes: “The white officer came towards the house. He was standing by the
 7          sidewalk.”
 8      3) PO Montalto: “Alonzo then attempted to get away from PO Lockett and they both went
 9          out of my visual sight.” [Note: PO Montalto was standing at the bottom of the stairs in
10          front of PO Lockett and Mr. Grant]
11   The Proven Credible Facts: By the time Mr. Grant came out of his house, Officer
12   Montalto was already in the front of the stairs on the sidewalk.”
13      66. Sergeant Novitsky’s Police Report Deposition: “I asked McMullin what the police
14   were saying to Alonzo. McMullin told me nothing, the cops were just punching him in the
15   face for no reason at all. He stated Alonzo was not doing anything at all.” These are True
16   Facts. The True Facts: Mr. Grant was ambushed without probable cause and viciously beaten,
17   and was never told he was under arrest.
18   Proof Testimony:
19      1) Mr. Grant: “I didn’t close the door [it closes on its own]. I wasn’t looking back, the PO
20          was behind me. That’s when the cop jumped on me.”
21      2) Stephanie Grant: “Ran out, charged out, grabbed Alonzo from behind.”
22      3) Corey McMullin: “As Alonzo was coming down the stairs, he got to about midway down
23          the stairs, when the black officer came out behind him, so by the time Alonzo hit the
24          bottom of the steps, he kind of like dived on his back, kind of wrestler’s style fashion.
25          Slung him on the ground over the railing. He was blindsided. Never saw it coming. He
26          wasn’t even aware of what was happening.”
27      4) Sharon Hayes: “People said why are you punching him?”
28




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 1      5) PO Lockett: “I followed A. Grant outside and as we began walking down the outside, I
 2          grabbed both of his arms and told him to put his hands behind his back.” [Note: Since PO
 3          Lockett grabbed both of Mr. Grant’s arms, he did not need to tell him to put his hands
 4          behind his back because he had already grabbed both arms]
 5      6) PO Montalto: “PO Lockett then exited the house and PO Lockett ordered Alonzo to stop
 6          because he was under arrest for domestic related disorderly conduct.” [Note: This was
 7          happening while PO Montalto claims that “they both went out of my visual sight”]
 8   The Proven Credible Facts: As Mr. Grant was coming down the stairs. He got to about midway
 9   down the stairs, when Officer Lockett came out of the house behind him. By the time Mr. Grant
10   stepped on the bottom of the steps, Officer Lockett kind of like dived on his back, kind of
11   wrestler’s style fashion, and slung Mr. Grant on the ground over the railing. Mr. Grant was
12   blindsided. Never saw it coming. He wasn’t even aware of what was happening.
13      67. Sergeant Novitsky’s Police Report Deposition: “McMullin's account is in
14   contradiction to the account of PO Lockett's, PO Montalto's, Stephanie's and Alonzo's.”
15   This Is A Willfully Perjured False Statement. The True Fact: Witness Corey McMullin’s
16   account matches those of Mr. Grant, Stephanie Grant, Sharon Hayes, and other eye witnesses.
17   Proof Testimony:
18      1) See testimony of Mr. Grant, Stephanie Grant, and Sharon Hayes as stated hereinabove.
19   The Proven Credible Facts: Sergeant Novitsky is covering up for Officers Montalto and
20   Lockett by falsely stating that Mr. McMullins’s testimony contradicts that of Mrs. Grant and
21   Sharon Hayes.
22      68. Sergeant Novitsky’s Police Report Deposition: “I interviewed Alonzo at the hospital.
23   He told the following; He was frustrated with Stephanie because she was not keeping up
24   with the housework as well as he thought she should. He was arguing with her when Alyssa
25   began arguing with the neighbor.” This Is A Willfully Perjured False Statement. The True
26   Fact: Sergeant Novitsky interrogated Mr. Grant while he was sitting, handcuffed to a hospital
27   gurney, suffering from bloody bruises, a broken nose and a concussion, and Sergeant Novitsky
28   failed to read Mr. Grant his Miranda rights, violating Mr. Grant’s 5th Amended Rights.


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 1   Proof Testimony:
 2      1) Sergeant Novitsky’s report
 3   The Proven Credible Facts: Sergeant Novitsky failed to read Mr. Grant his Miranda rights,
 4   violating Mr. Grant’s 5th Amended Rights.
 5      69. Sergeant Novitsky’s Police Report Deposition: “This increased Alonzo's anger and
 6   he began arguing with Alyssa as well. Alonzo told me Alyssa gets him really angry. Alonzo
 7   called the police to get Alyssa out of the house.” This Is A Willfully Perjured False Statement.
 8   The True Fact: Mr. Grant called the police to curtail an argument in front of the house between
 9   his daughter and a neighbor.
10   Proof Testimony:
11      1) Officer Lockett: “A. Grant said, “Officer she left,”
12      2) Mr. Grant: “That’s false that I told him Alyssa gets me really angry. I called the police to
13          make Alyssa go home. She was arguing with a neighbor in front of my house.”
14   The Proven Credible Facts: Mr. Grant called the police to curtail an argument in front of the
15   house between his daughter and a neighbor.
16      70. Sergeant Novitsky’s Police Report Deposition: “She left prior to police arrival but
17   he was still angry. He continued yelling at Stephanie even after the police arrived.”
18   This Is A Willfully Perjured False Statement. The True Fact: Mr. Grant and Stephanie Grant
19   were talking.
20   Proof Testimony:
21      1) Mr. Grant: “That’s false. I was not yelling. That’s false. I never said that.”
22      2) Stephanie Grant: “We were talking. He was not yelling.
23   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
24   force inflicted on Mr. Grant, without probable cause, by the officers under his supervision—
25   Officers Montalto and Lockett.
26      71. Sergeant Novitsky’s Police Report Deposition: “Eventually, he went outside and
27   closed the door behind him. That is when the cops jumped on him.” This Is A Willfully
28   Perjured False Statement. The True Facts: Mr. Grant did not close the door behind him. He did


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 1   not go outside “Eventually”. Rather, Mr. Grant immediately obeyed PO Lockett’s order and went
 2   outside to speak with Lockett’s partner, as instructed. This is when the cops jumped on him.
 3   Proof Testimony:
 4      1) Mr. Grant: “That’s false. I never said that. I did not close the door. It wasn’t eventually, I
 5          went right down. Right away – within 2 seconds. The PO asked me to go outside to talk
 6          to his partner. “Could you step outside and talk to my partner?” That’s what he asked me
 7          to do, that’s what I did.”
 8   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
 9   force inflicted on Mr. Grant, without probable cause
10      72. Sergeant Novitsky’s Police Report Deposition: “I asked him if he slammed the door
11   shut. Alonzo hesitated to answer but did. He said, "I don't remember but I think I may
12   have." This Is A Willfully Perjured False Statement. The True Fact: Mr. Grant did not make
13   this statement.
14   Proof Testimony:
15      1) Mr. Grant: “I never said that.”
16   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
17   force inflicted on Mr. Grant, without probable cause.
18      73. Sergeant Novitsky’s Deposition: “I asked him what he did when the cops jumped
19   on him. He told me, "I tried to push them away from me." This Is A Willfully Perjured False
20   Statement. The True Facts: Mr. Grant did not make this statement. He did not push the police
21   away from him.
22   Proof Testimony:
23      1) Mr. Grant: “No, I did not tell him that. I did not push him away. “No!” They had my
24          arms behind my back! I have never been arrested nor have I ever touched an officer.
25          “No!”
26   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
27   force inflicted on Mr. Grant, without probable cause.
28




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 1      74. Sergeant Novitsky’s Police Report Deposition: “I asked him if he knew it was the
 2   police and he said yes. I followed up with the question, if you knew it was the police why
 3   did you try to fight them and not follow their commands?” This Is A Willfully Perjured False
 4   Statement. The True Facts: Mr. Grant did not fight the police. He followed their commands.
 5   Proof Testimony:
 6      1) Mr. Grant: “Of course I knew it was the police! I didn’t try to fight them!”
 7   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
 8   force inflicted on Mr. Grant, without probable cause.
 9      75. Sergeant Novitsky’s Police Report Deposition: “Alonzo's body posture changed
10   dramatically when he answered this question. Initially, he was sitting on the side of the
11   hospital bed with his legs over the side, back straight and looking at me in the eyes. When
12   he answered my last question, his head dropped, he looked to the floor, his shoulders
13   slumped down and he let out a long sigh. Alonzo told me he just couldn't stop himself. He
14   knew it was the police but he just could not stop fighting with them.” This Is A Willfully
15   Perjured False Statement. The True Fact: Mr. Grant did not make this statement.
16   Proof Testimony:
17      1) Mr. Grant: “Yes, my legs were over the side. I never told him that. I never told him
18          anything like that. I wasn’t fighting with them. He grabbed me, my arms behind my back,
19          the other one grabbed my feet and they threw me over. Never said that! That’s False.”
20   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
21   force inflicted on Mr. Grant, without probable cause.
22      76. Sergeant Novitsky’s Police Report Deposition: “Alonzo added that Alyssa gets him
23   really mad and his temper gets out of control.” This Is A Willfully Perjured False Statement.
24   The True Fact: Mr. Grant did not make this statement.
25   Proof Testimony:
26      1) Mr. Grant: “That’s False.”
27   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
28   force inflicted on Mr. Grant, without probable cause.


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 1      77. Sergeant Novitsky’s Police Report Deposition: “Alonzo sustained a nasal fracture
 2   and laceration to the left side of his face. He was treated at the hospital and released.” This
 3   Is A Willfully Perjured False Statement. The True Facts: Mr. Grant sustained a concussion,
 4   nasal fracture, laceration needing sutures, multiple contusions and bruises, a split lip, severe
 5   swelling of the entire left side of his face, torn ligaments, bruises and abrasions to his left arm,
 6   and permanent close head brain damage, in addition to severe mental and emotional distress .
 7   Proof Testimony:
 8      1) Medical Records
 9   The Proven Credible Facts: Sergeant Novitsky created false facts to cover up for the excessive
10   force inflicted on Mr. Grant, without probable cause.
11      78. Sergeant Novitsky’s Police Report Deposition: “Alonzo was booked in the Justice
12   Center after his release from the hospital. The actions of PO Lockett and PO Montalto
13   were in compliance with the Syracuse Police Department's rules and regulations and in
14   compliance with New York State Penal Law Article 35. Their actions were lawful, justified
15   and not reckless. The force used was necessary and reasonable.” This Is A Willfully Perjured
16   False Statement. The True Facts: The force used by PO Montalto and PO Lockett was reckless,
17   excessive, unnecessary and unlawful.
18   Proof Testimony:
19      1) Mr. Grant: “No, I was not released. I was hurtin’. I was hurtin’. I was pretty down. I got
20          problems sleeping. I start visualizing in my mind what happened. I got a tetanus shot. I
21          hate it happened. I did what they asked me to do.”
22      2) Stephanie Grant: “When I got to the door, seeing my husband go over the railing down to
23          the ground. The white officer hit him 4-5 times in his face. The black officer was
24          punching him too. Both holding him, both punching him. Alonzo was trying to protect
25          his face with his right hand.”
26      3) Corey McMullin: “…the first thing he did was punch him, looked like in the head area.
27          He kept bringing it [his fist] back, I’d say about five times. If I’m not mistaken he had his
28          knee on his back…There was a lot of grabbing and choking… They had his arms bent all


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 1          ways… His arm was bleeding. I think his mouth. The officers were throwing him around.
 2          He did not resist… He was just groaning.”
 3      4) Sharon Hayes: “I saw him when he got up, all bloody. I’m saying why’d they beat him up
 4          like that? He’s not a confrontational person.”
 5      5) PO Lockett: “…at which time I began to strike A. Grant in the head and face area…” “I
 6          struck him four times at first…” “While still on the ground, I had to strike him four more
 7          times…” “I subsequently had to strike him two more times in the face…”
 8      6) PO Montalto: “I then punched Alonzo in the left side the face with my right hand two
 9          times in an attempt to get him to comply…” “I then struck Alonzo in the left thigh with a
10          right knee strike…” “I then forced Alonzo's left arm behind his back…”
11   The Proven Credible Facts: Sergeant Novitsky created false facts to cover-up for the excessive
12   force inflicted on Mr. Grant, without probable cause.
13   79. On June 28, 2014, Officer Montalto falsely affirmed Under the Penalty of Perjury the
14   following:
15       On the aforementioned date and time and location the above defendant, Alonzo Grant
16       did commit the crime of Resisting Arrest. Defendant Grant was informed that he was
17       under arrest for domestic related disorderly conduct. Grant then intentionally attempted
18       to prevent a Police Officer from effecting [sic] an authorized arrest of himself.
19       Defendant Grant physically grabbed an officer and wrestled with officers who were
20       attempting to place him in handcuffs. Defendant Walker [sic] refused to comply with
21       several commands to place his hand behind his back so that he could be placed in
22       handcuffs. In order to effect this authorized arrest the defendant's hand were physically
23       pulled behind his back. The above listed actions by the defendant constitute the crime of
24       Resisting Arrest.
25       “On the above date and time and location: while inside the house of Stephanie Grant
26       and being husband of Stephanie Grant The defendant Alonzo Grant intentionally and
27       continuously flailed his arms at his wife Stephanie Grant. The defendant was screaming,
28       yelling and acting aggressively toward his wife and police. The defendant violently


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 1         punched the front door of the house causing it to fly open in the presence of police
 2         officers and continued to annoy and alarm all parties involved with his violent
 3         tumultuous threatening behavior. The above actions of the defendants constitute the
 4         violations of Disorderly Conduct pursuant to NYSPL 240.20 (1) and NYSCPL 530.11.
 5         (1)”
 6   80.     Officer Montalto made a “request that certain criminal process be issued to compel
 7   defendant [Mr. Grant] to answer the aforesaid accusation” Officer Montalto signed his name,
 8   and badge Number “302” “Under the Penalty of Perjury on June 28, 2014” issuing a criminal
 9   complaint against Mr. Grant, an innocent man. Officer Montalto signed his name just below the
10   warning: “NOTE: False Statements made herein are punishable as a Class A Misdemeanor
11   pursuant to section 210.45 of the Penal Law of the State of New York.”
12   81. Likewise, Officer Lockett falsely affirmed Under the Penalty of Perjury on June 28, 2014 the
13   following:
14         On the above date and time and place the above defendant Alonzo Grant with intent to
15         harass, annoy and alarm did intentionally subjected me to physical contact by wrapping
16         both of his arms around my waist and trying to take me down to the ground. As a result
17         of the defendants actions I was harassed, annoyed and alarmed.          By intentionally
18         harassing me and subjecting me to physical contact the defendant did commit the
19         violation of Harassment In the 2nd Degree.
20

21   82. Officer Lockett also signed his name, and badge Number “0366” “Under the Penalty of
22   Perjury on June 28, 2014” issuing a criminal complaint against Mr. Grant, an innocent man.
23   Officer Lockett signed his name just below the warning: “NOTE: False Statements made
24   herein are punishable as a Class A Misdemeanor pursuant to section 210.45 of the Penal
25   Law of the State of New York.”
26   83.     Based on the Reports of Defendants Lockett and Montalto, the Syracuse District Attorney
27   initiated prosecution against Mr. Grant, and he was charged for the first time in his 53 years of
28




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 1   life with a crime, and specifically with the crimes of Resisting Arrest, Harassment 2nd, and
 2   Disorderly Conduct for an alleged altercation with the police at his home on June 28, 2014.
 3
     Syracuse District Attorney Dismissed All Charges
 4
     84.      On September 10, 2014, the Syracuse District Attorney dismissed all charges against Mr.
 5
     Grant, concluding after thoroughly investigating and reviewing the case, and exonerated Mr.
 6
     Grant completely, averring that “Mr. Grant had done nothing wrong” "Witnesses at the scene,
 7
     both related and unrelated to Mr. Grant, did not report any conduct by him that could reasonably
 8
     be considered resisting arrest," prosecutors said in a news release. The law did not support the
 9
     disorderly conduct charge, either. "It appears that Mr. Grant has an unblemished record and is
10
     well-established in the community," the DA's office continued. "Based upon all of the foregoing
11
     factors, this office has moved to dismiss these charges in the interest of justice."
12
     85.      The District Attorney stated in dismissing the charges:
13
           "It was Mr. Grant who made the call to police in an attempt to prevent the verbal
14
           dispute from escalating further. He was not suspected as the perpetrator of any crime.
15
           When an officer entered the residence to assess the situation he eventually asked Mr.
16
           Grant to exit his home and speak to SPD Officer Paul Montalto. As he was walking out
17
           the door, Mr. Grant punched his screen door, causing the door to slam against the side
18
           of his house. Almost immediately following Mr. Grant's action, the police decided to
19
           arrest for him Disorderly Conduct.
20
           SPD Officer Damon Lockett reached for Mr. Grant and both parties went over the side
21
           of railing and fell to the ground. At this point, Officers Lockett and Montalto struck Mr.
22
           Grant about the face and head several times. Mr. Grant suffered injuries which required
23
           medical attention.”
24
           The actions and findings of the District Attorney are consistent the findings of the Syracuse
25
     Citizen Review Board proving Mr. Grant is Factually Innocent of the dismissed charges.
26

27

28




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 1   Citizen Review Board Findings of Excess Force & Untruthfulness
 2   86.     On October 16, 2014, the Syracuse CITIZEN REVIEW BOARD, “In the matter of
 3   Alonzo Grant vs. Syracuse Police Officers Allegations of Misconduct: Excessive Force, False
 4   Arrest, Untruthfulness”, issued its finding to Mr. Grant as follows:
 5     “Dear Mr. Grant:
 6     In accordance with our authorizing local law, a CRB panel met on October 15,
 7     2014 to review the above captioned matter. After careful review of the testimony
 8     and facts submitted, the CRB panel made the following determination:
 9            CRB Findings:
10            • Excessive Force: Sustained for Officers #1 and #2
11            • False Arrest: Sustained for Officers #1 and #2
12            • Untruthfulness: Sustained for Officers #1, #2, and #3
13     In addition, the CRB panel recommended specific discipline to the Chief of Police
14     for the sustained allegations against the officers.
15     Mr. Grant, thank you for coming forward to file your complaint. This can
16     ultimately lead to recommendations for changes and improvements in SPD policy,
17     practices and training. Your input and feedback on such police interactions is
18     critical to the operations of the Citizen Review Board….” [Emphasis added]
19     87. The findings by the Syracuse District Attorney and the Syracuse Citizen Review
20   Board compel a Declaratory Judgment that Mr. Grant is Factually Innocent of the dismissed
21   charges, consistent with the Due Process Clause protection in the Fourteenth Amendment of the
22   United States Constitution. Since the State of New York does not have a law permitting
23   wrongfully accused persons to reclaim their status of innocent, a Declaratory Judgment is hereby
24   requested, declaring Mr. Grant is factually innocent of the dismissed charges. Such Declaratory
25   Judgment is hereby prayed for in this Complaint.
26   88. All of the evidence, the facts established by each of the witnesses, including the patently
27   false and contrived sworn Deposition Testimony of Defendants Officers Lockett, Montalto, and
28   Novitsky, as confirmed by the Syracuse District Attorney and the Syracuse Citizen Review


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 1   Board, support and compel a Declaratory Judgment as follows: Defendant Officers Lockett,
 2   Montalto, and Novitsky willfully made False Statements in their Deposition Police Reports
 3   and by so doing, each violation is punishable as a Class A Misdemeanor pursuant to section
 4   210.45 of the Penal Law of the State of New York. This Declaratory Judgment is needed for the
 5   ultimate benefit of the Defendant Police Officers, the Syracuse Police Department, and the
 6   Public in order to restore public trust in the Syracuse Police Department and to heal the Syracuse
 7   Community from a metastasizing mistrust of the Police, one of our most valued public servants.
 8

 9                                            IX. DAMAGES
10      89. Mr. Grant’s damages include, but are not limited to, the following: brain damage,
11   fractured nose, cut lip, cut left side of head, bruised and injured left arm and elbow, including
12   torn ligaments, concussion syndrome, anxiety, mental and emotional distress, humiliation, fear,
13   discomfort, loss of enjoyment of life, inconvenience and suffering, physical and psychic injuries,
14   headaches, nightmares, insomnia, and misery. The injuries, illnesses and harms caused, and
15   continue to cause, Mr. Grant and Mrs. Grant to seek and obtain medical treatment and ongoing
16   medical care for their injuries, illnesses and medical conditions, and to incur medical expenses,
17   loss of wages, medical bills, loss of work benefits all caused by the Defendants, and each of
18   them.
19   FEDERAL LAW CLAIMS
20
                                      FIRST CAUSE OF ACTION
21                                   Violation Of United States Civil
                                   Rights Laws 42 U.S.C. Sections 1983
22                                        Use of Excessive Force
23
                                  (Against Officer Lockett and Montalto)
                                             As to Mr. Grant
24
        90. Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs,
25
     as though fully set forth herein.
26
        91. Federal Law 42. U.S.C. §1983 provides in pertinent part: “Every person who, under color
27
     of any statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of
28
     Columbia, subjects, or causes to be subjected, any citizen of the United States or other person


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 1   within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured
 2   by the Constitution and laws, shall be liable to the party injured in an action at law, suit in equity,
 3   or other proper proceeding for redress”.
 4   Fourth Amendment Claim Excessive Force
 5         92. “The Fourth Amendment protects individuals from the government’s use of excessive
 6   force while detaining or arresting individuals.” 3 “When determining whether police officers have
 7   employed excessive force in the arrest context, the Supreme Court has instructed that courts
 8   should examine whether the use of force is objectively reasonable ‘in light of the facts and
 9   circumstances confronting them, without regard to the officers’ underlying intent or motivation.”
     4
10

11   93.       Defendant Police Officers Lockett and Montalto’s use of unreasonable, unnecessary and
12   excessive force violated Mr. Grant’s clearly established constitutional rights and was not
13   objectively reasonable in light of the circumstances. Indeed, it was Mr. Grant who summoned the
14   police to help diffuse an escalating argument between his adult daughter and a female neighbor.
15   Mr. Grant was not a suspect for any crime and had not committed any crime in his 53 years of
16   life. The Defendant Police Officers Lockett and Montalto acted willfully, deliberately,
17   maliciously and with reckless disregard for Mr. Grant’s established constitutional rights. 5
18   94.       As the True Facts above prove, Police Officer Lockett and Police Officer Paul Montalto
19   inflicted objectively excessive and unreasonable force upon Mr. Grant, including bloodying his
20   face, head, body, breaking his nose, cutting his lip and bashing a gash in the side on his head,
21   requiring stitches. Mr. Grant had called 911 and summoned the police to remove his adult
22   daughter from his front yard, in hope of diffusing and breaking up a verbal altercation his
23

     3
24     Jones v. Parmley, 465 F.3d 46, 61 (2d Cir. 2006) (citing Thomas v. Roach, 165 F.3d 137, 143 (2d Cir. 1999)).
     4
       Jones, 465 F.3d at 61 (quoting Graham v. Connor, 490 U.S. 386, 397 (1989))
25   (punctuation omitted). Among the most relevant facts and circumstances are (1) the severity of
     the crime allegedly committed; (2) the threat of danger to the officer and society; and (3) whether
26   the suspect was resisting or attempting to evade arrest. Thomas, 165 F.3d at 143.
     Reasonableness is generally a question of fact. See McKelvie v. Cooper, 190 F.3d 58 (2d Cir.
27   1999) (reversing magistrate judge’s grant of summary judgment to officers of Fourth
     Amendment excessive force claim).
28
     5
         Smith v Wade, 461 U.S. 30,45-48 (1983)


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 1   daughter was having with an adult female neighbor. Neither Mr. Grant, nor his daughter, nor the
 2   neighbor had committed any crime. There was never any threat of danger to either Officer
 3   Lockett or Montalto because each confirmed that Mr. Grant’s daughter had left the front yard
 4   before the officers arrived. Mr. Grant was lawfully in his home, where he remained the entire
 5   time, until ordered by Officer Lockett to “go outside and speak with my partner”. Neither officer
 6   had cause to arrest Mr. Grant, nor did either of the officers announce to Mr. Grant that he was
 7   under arrest. Neither officer had any probable cause to touch, hit, punch, strike, or seize Mr.
 8   Grant. Any force against an American Citizen without probable cause is excessive and a
 9   constitutional violation. Even though Mr. Grant is privileged to resist and defend himself against
10   unreasonable force, he did not at any time do so.
11   95.       At all times Mr. Grant was a law abiding citizen, and was encased and enshrined in the
12   protection of the United States Constitution. The Police Officers engaged in the following
13   unreasonable, excessive and illegal force:
14   Police Officer Paul Montalto
15         1. “I then grabbed Alonzo's left arm and tried to pry it away from PO Lockett….”
16         2. “I was able to pull Alonzo arm off of PO Lockett…
17         3. “I then punched Alonzo in the left side the face with my right hand two [2] times in an
18         attempt to get him to comply…”
19         4. “I then forced Alonzo's left arm behind his back and placed it in handcuffs.”
20         5. . “I then struck Alonzo in the left thigh with a right knee strike in another attempt to get
21         him to comply with my orders.”
22         6. “Alonzo was placed in handcuffs without incident...”
23   Police Officer Lockett
24         7. “I followed A. Grant outside and as we began walking down the outside, I grabbed both of
25         his arms and told him to put his arms behind his back.”
26         8. “We went down the stairs and then both fell to the ground in the front lawn.”
27         9. “I struck him four [4] times at first….”
28         10. “While still on the ground, I had to strike him four [4] more times…”


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 1      11. “I subsequently had to strike A. Grant two [2] more times in the face…”
 2   Sergeant Novitsky
 3       96. Sergeant Novitsky had Mr. Grant shackled, handcuffed to a hospital bed while he
 4   interrogated him without reading him his Miranda Warnings. During this illegal interrogation,
 5   Mr. Grant was bleeding, swollen, hurting, writhing in pain from a severe concussion and from
 6   having been beaten, struck, hit, with closed fists in the face, head, and jaw. Sgt. Novitsky
 7   continued the violations of Mr. Grant’s constitutional rights, including the false arrest and
 8   excessive force. Sgt. Novitsky admissions of violating Mr. Grants Constitutional rights are as
 9   follows:
10       97. “I interviewed Alonzo at the hospital. He told the following; He was frustrated with
11   Stephanie because she was not keeping up with the housework as well as he thought she should.
12   He was arguing with her when Alyssa began arguing with the neighbor.” Nowhere in Sergeant
13   Novitsky’s Deposition does he note that he read Mr. Grant his Miranda rights, thereby making
14   his entire interview a violation of Mr. Grant’s Fifth Amendment Rights against self-
15   incrimination and due process of law; and his Sixth Amendment Right “…to be informed of the
16   nature and cause of the accusation; to be confronted with the witnesses against him; and to have
17   the assistance of counsel for his defense.”
18       98. Police officers Lockett and Montalto never informed Mr. Grant that he was under arrest.
19   Instead, Officer Lockett suddenly and abruptly, without probable cause, grabbed Mr. Grant,
20   while he was lawfully standing on his own front steps of his own property, from behind and
21   violently threw Mr. Grant over the black wrought iron railing. The police officers never informed
22   Mr. Grant of “the nature and cause of the accusation” against him. The Fourth Amendment
23   enforces the doctrine that “each man’s [woman’s] home is his [her] castle”, secure from
24   unreasonable searches and seizures of property by the government. The police officers, and each
25   of them, violated Mr. Grant’s Fourth, Fifth, Sixth and Fourteenth Amendment Rights. Hence,
26   under the law of the United States Constitution, they must pay Mr. Grant for all damages flowing
27   from their illegal actions and inactions.
28




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 1   99.      The Defendant Police Officers Lockett and Montalto admitted beating Mr. Grant in the
 2   face, head, back and thigh. Medical records reflect that Mr. Grant sustained a broken nose, a
 3   concussion, busted lip, cut on the forehead and serious and severe post-concussive syndrome,
 4   including nightmares, flashbacks, sleeplessness nights and a daily fear of the police.
 5   100.     A reasonable police officer would have knocked on Mr. Grant’s door, or rung one of the
 6   two door bells, and approached Mr. Grant politely and respectfully in efforts to ascertain the
 7   reason for his 911 call to the police, who are his community public servants. After gathering the
 8   true facts that the daughter had left the front yard, and there was no longer a need for the police,
 9   a reasonable officer would have thanked Mr. Grant for the call and advised him to call again
10   should the need arise. That should have been the end any police contact if a reasonable officer
11   had responded to Mr. Grant’s call for assistance. This is not the reasonable course the Defendant
12   Police Officers took. Instead, these police officers beat, hit, struck and arrested Mr. Grant,
13   violating his United States Constitutional Rights, including his Fourth Amendment Right against
14   unreasonable search and seizures, and his Fourteenth Amendment Right of liberty, property,
15   equal protection, and due process, all of which violations are entitling Mr. Grant to damages.
16   101.     Mr. Grant is now permanent injured, in mind and body, because Defendants Lockett and
17   Montalto acted unreasonably. These Defendant Police Officers engaged in a practice and pattern
18   of violations of citizen’s constitutional rights because their superiors, such as Defendant
19   Novitsky, and by extension, Police Chief Fowler, covered up for their constitutional abuses.
20   Defendants’ conduct was intentional, malicious, fraudulent, and showed a reckless disregard of
21   the constitutional rights, safety and health of Mr. and Mrs. Grant. Defendants’ conduct warrants
22   punitive damages to protect the public in the future, in an amount according to proof.
23            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
24   //
25   //
26

27

28




                  ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 52
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                                    SECOND CAUSE OF ACTION
 1
                                     Violation Of United States Civil
 2                                Rights Laws 42 U.S.C. Sections 1985
                                   Conspiracy to Violate Civil Rights
 3                        (Against Officer Lockett and Montalto and Novitsky)
                                             As to Mr. Grant
 4
     102. Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs as
 5
     though fully set forth herein.
 6
     Obstructing Justice and Conspiracies to Interfere with Civil Rights
 7
     103. Federal Law 42 U.S.C. § 1985 states in relevant parts: “[T]he party so injured or
 8
     deprived may have an action for the recovery of damages occasioned by such injury or
 9
     deprivation, against any one or more of the conspirators: [I]f two or more persons conspire for
10
     the purpose of impeding, hindering, obstructing, or defeating, in any manner, the due course of
11
     justice in any State or Territory, with intent to deny to any citizen the equal protection of the
12
     laws, or to injure him or his property for lawfully enforcing, or attempting to enforce, the right of
13
     any person, or class of persons, to the equal protection of the laws.”
14
     104. To recover under a § 1985 conspiracy claim for deprivation of civil rights, a plaintiff must
15
     prove: "(1) a conspiracy; (2) for the purpose of depriving, either directly or indirectly, any person
16
     or class of persons of equal protection of the laws . . .; (3) an act in furtherance of the conspiracy;
17
     (4) whereby a person is . . . deprived of any right of a citizen of the United States."
18
     105. Mr. Grant alleges facts that Defendant Police Officers Lockett, Montalto and Novitsky have
19
     acted in concert to fabricate statements in order to prosecute Mr. Grant for crimes they knew he
20
     did not commit. The fabrication and falsification of Mr. Grant’s statements were overt acts in
21
     furtherance of this conspiracy, as were the subsequent acts of concealing the fabrication and
22
     withholding evidence.
23
     Constitutional Violation: False Depositions and Credibility of the Police Officers
24
     106. In the Supporting Deposition of Police Officer Montalto, he states as follows:
25
            “Upon arrival, we spoke to the complainant, Alonzo Grant who was standing in the front
26
     yard of the residence. We observed that Grant appeared highly agitated. Grant states, “We don’t
27
     need the fucking Police, my daughter is gone.”
28




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 1   107. In the Supporting Deposition of Police Officer Lockett he states as follows: “When I
 2   arrived, I heard a male voice from the above residence yell through the screen door “we don’t
 3   need the police.” I approached the front door and was met by Grant. A. Grant said “Officer she
 4   left.”
 5   108.     In the Supporting Deposition of Police Officer Montalto, he states as follows: “PO
 6   Lockett then attempted to grab Alonzo by the arm to place him in handcuffs. Alonzo then tried to
 7   get away from PO Lockett and they both went momentarily out of my visual sight. I then exited
 8   the house and observed PO Lockett and Alonzo Grant involved in a physical altercation.”
 9   109. In the Supporting Deposition of Police Officer Lockett, he states as follows: “At that time I
10   said to A. Grant to please go outside and speak to my partner.”
11   110. All of the witness statements, including the statements of Mr. Grant and his wife, confirm
12   that Mr. Grant was in his own home when the police arrived. Further, all witnesses including
13   Mr. Grant and his wife, state that Police Officer Montalto never entered their residence. It was
14   Police Officer Lockett who forced his way into the Grant residence without permission and
15   without knocking. Police Officer Montalto and Lockett’s statements are so contradictory that
16   they rise to the level of willfully false statements and police misconduct.
17   111. The truth is that Officer Montalto was outside the residence the entire time, as his partner
18   indicates. Further, Alonzo never swore at the Police as was indicated by Police Officer Lockett.
19   Multiple witnesses confirm that Officer Montalto was putting on black “Weighted Gloves” as he
20   was walking from his parked patrol car towards the Grant home, and that he was standing at the
21   bottom of Mr. Grant’s front yard stairs when Mr. Grant was exiting his home in compliance with
22   Officer Lockett’s command. Officer Montalto then grabbed Alonzo’s legs and assisted his
23   partner in tackling Mr. Grant over the iron railing in an unprovoked attack. All of the witnesses
24   agree that Officer Lockett never told Mr. Grant he was under arrest at the time the Defendant
25   Officers grabbed him.
26   112.     Sergeant Novitsky Deposition: “Upon my arrival, I observed the suspect, Alonzo Grant,
27   sitting up on the front lawn of 105 Hudson St. secured in handcuffs. Alonzo was sweating
28   profusely and had a laceration proximal to the lateral aspect of his left eyebrow. Bleeding was


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 1   minor but appeared worse because of the profuse sweating. I could also see swelling on Alonzo's
 2   left cheek bone…. I spoke with PO Lockett and PO Montalto. Their verbal account of the
 3   Incident was properly documented and was consistent with their written account.”
 4   113.     Sergeant Novitsky willfully filed a false Deposition, a “Use of Force Report”,
 5   concluding: “The actions of PO Lockett and PO Montalto were in compliance with the Syracuse
 6   Police Department's rules and regulations and in compliance with New York State Penal Law
 7   Article 35. Their actions were lawful, justified and not reckless. The force used was necessary
 8   and reasonable.” This is a “cookie-cutter” boiler plate finding, designed to cover up and conspire
 9   with the Defendant Officers to “sweep under the rug” the constitutional violations committed by
10   these Defendant Officers. Sergeant Novitsky selectively chose to ignore all of the witness
11   statements and the internal irreconcilable statements by the Defendants Lockett and Montalto to
12   justify the excessive force, the result of which he personally observed on Mr. Grant’s body while
13   Mr. Grant was sitting on his lawn in handcuffs, solely for having the audacity to call 911 for
14   help. Defendants’ conduct was intentional, malicious, fraudulent, and showed a reckless
15   disregard of the constitutional rights, safety and health of Mr. and Mrs. Grant. Defendants’
16   conduct warrants punitive damages to protect the public, in an amount according to proof.
17            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
18
                                    THIRD CAUSE OF ACTION
19                               Violation Of United States Civil Rights
                                     Laws 42 U.S.C. Sections 1986
20                               (Against Defendant Sergeant Novitsky)
                                             As to Mr. Grant
21
     114.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
22
     though fully set forth herein.
23
     Sergeant Novitsky Liability for Neglect to Prevent Violation of Constitutional Rights
24
     115.     42 U.S. Code § 1986 provides: “Every person who, having knowledge that any of the
25
     wrongs conspired to be done, and mentioned in section 1985 of this title, are about to be
26
     committed, and having power to prevent or aid in preventing the commission of the same,
27
     neglects or refuses so to do, if such wrongful act be committed, shall be liable to the party
28




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 1   injured, or his legal representatives, for all damages caused by such wrongful act, which such
 2   person by reasonable diligence could have prevented….” 42 U.S. Code § 1986.
 3   116.     Sergeant Novitsky filed a false Deposition, covering up and fictionalizing the true facts in
 4   order to attempt to exonerate his fellow police officers and convict an innocent American
 5   Citizen. He reviewed the depositions of Officer Lockett and Officer Montalto and was aware of
 6   the clear and plain, willful material variations in the officers’ testimony compared to each other,
 7   and compared to each of the witnesses he interviewed. Sergeant Novitsky stated in his
 8   deposition: “I spoke with PO Lockett and PO Montalto. Their verbal account of the Incident was
 9   properly documented and was consistent with their written account.”
10   117.     Sergeant Novitsky admits he spoke with PO Lockett and PO Montalto, and therefore he
11   knew that these officers had formed an agreement to falsely fabricate their depositions to justify
12   their excessive force. Sergeant Novitsky stated, “I also spoke with Corey McMullin. He told the
13   following; He was standing on the sidewalk near Alonzo's driveway and saw everything.” Sgt.
14   Novitsky totally disregards Mr. McMullin’s statement when he “… asked McMullin what the
15   police were saying to Alonzo. McMullin told me nothing, the cops were just punching him in the
16   face for no reason at all. He stated Alonzo was not doing anything at all.”
17   118.     Armed with the eye witness statements from Mr. McMullin, Sergeant Novitsky, a
18   seasoned Police Officer, interrogated Mr. Grant while he was handcuffed to his hospital bed and
19   deliberately failed to read Mr. Grant his Miranda Warnings, instead fabricating a Grishamesque
20   crime novel admission from Mr. Grant: “Alonzo's body posture changed dramatically when he
21   answered this question. Initially, he was sitting on the side of the hospital bed with his legs over
22   the side, back straight and looking at me in the eyes. When he answered my last question, his
23   head dropped, he looked to the floor, his shoulders slumped down and he let out a long sigh.
24   Alonzo told me he just couldn't stop himself. He knew it was the police but he just could not stop
25   fighting with them.”
26   119.     Sergeant Novitsky, having the power to prevent, or aid in preventing, the commission of
27   the violation of Mr. Grant’s constitutional rights, neglected and refused so to do. Sergeant
28   Novitsky not only neglected to stop the “wrongs conspired to be done” to Mr. Grant by officers


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 1   under his supervision, but Sergeant Novitsky actively joined the conspiracy by falsely declaring
 2   in regard to Officers Lockett and Montalto: “Their actions were lawful, justified and not reckless.
 3   The force used was necessary and reasonable.” Hence, Mr. Grant’s Claim against Sergeant
 4   Novitsky for “Neglect to Prevent Violation of Constitutional Rights” and conspiring to violate,
 5   and participating in the violation of, his Fourth, Fifth, and Fourteenth Amendment Rights.
 6            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 7
                                   FOURTH CAUSE OF ACTION
 8                                  Monell Claim: 42 U.S.C. 1983
                                 (Against Defendants City Of Syracuse
 9                      Chief Frank Fowler and The Syracuse Police Department )
                                      As to Mr. and Mrs. Grant
10
     120.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
11
     though fully set forth herein.
12
     Monell Claim: City of Syracuse’s Liability for Excessive Force and False Arrest
13
     121.     At the time of Mr. Grant’s arrest and vicious beating, Officers Lockett, Montalto and
14
     Novitsky were acting under color of all the laws and regulations of the State of New York and
15
     the City of Syracuse. The City of Syracuse has a policy, custom, practice and pattern of conduct
16
     in place that enables it agents and employees police officers to act with deliberate indifference to
17
     the constitutional rights of individuals. This policy, custom, practice and pattern of conduct,
18
     includes, but is not limited to, tolerating misconduct by its police officers, encouraging
19
     misconduct by failing to adequately supervise, discipline and train its police officers.
20
     122.     Plaintiffs assert that the City of Syracuse is liable for any constitutional torts committed
21
     by the individual Defendant Police Officers because the City of Syracuse maintains a custom,
22
     policy and pattern and practice of failing to exercise reasonable care in training, supervising and
23
     hiring its officers. Plaintiffs further allege the City of Syracuse maintains a custom, policy,
24
     pattern and practice of inaction regarding disciplining police officers for excess force; and a
25
     custom, policy, practice and pattern of failing to discipline it Police Officers for violating the
26
     constitutional rights of its citizens. Plaintiffs also allege that City Police Department has an
27
     inadequate Use of Force Policy, which does not clearly draw a bright line defining constitutional
28




                  ALONZO AND STEPHANIE GRANT AMENDED COMPLAINT FOR DAMAGES - 57
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 1   violations for excessive force such as choking, using “weighted gloves”, or knees in the back of a
 2   suspect. The City of Syracuse’s policy, custom, practice and pattern were a motivating factor
 3   causing a deprivation of Mr. Grant’s constitutional rights.
 4   123.     The City of Syracuse has an urgent need for a clear policy regarding excessive force,
 5   choking, knees in the back of a suspect and racial profiling. Plaintiffs request a Declaratory
 6   Judgment that the City of Syracuse policy on excessive force is inadequate and presents clear
 7   and present danger of deprivation of the constitutional rights of persons who have contact with
 8   the Syracuse Police.
 9   124.     Under Monell, local governments and their agencies can be sued as "persons" under §
10   1983 and may be liable where a government policy or custom gives rise to a constitutional
11   deprivation. A "custom" does not require official sanction; instead, a custom "may fairly subject
12   a municipality to liability on the theory that the relevant practice is so widespread as to have the
13   force of law." 6 Thus, the elements of a Monell claim include: 1) an official policy or custom that,
14   2) causes the plaintiff to be subjected to, 3) a deprivation of a constitutional right. 7
15   125.     An “official policy or custom” can be shown in several ways: (1) a formal policy
16   officially endorsed by the municipality; (2) actions taken by government officials responsible for
17   establishing municipal policies related to the particular deprivation in question; (3) a practice so
18   consistent and widespread that it constitutes a custom or usage sufficient to impute constructive
19   knowledge of the practice to policymaking officials; and (4) a failure by policymakers to train or
20   supervise subordinates to such an extent that it amounts to deliberate indifference to the rights of
21   those who come in contact with the municipal employees. 8
22

23
     6
24
        Board of County Comm'rs v. Brown, 520 U.S. 397, 404, 117 S. Ct. 1382, 137 L. Ed. 2d 626 (1997) To make a
     claim for municipal liability, it is not sufficient to allege merely conduct attributable to the municipality. Id. "A
25   plaintiff must show that the municipal action was taken with the requisite degree of culpability and must
     demonstrate a direct causal link between the municipal action and the deprivation of federal rights." Id.
26   7
       Batista v. Rodriguez, 702 F.2d 393, 397 (2d Cir. 1987).
     8
       Dorsett-Felicelli v. C’nty of Clinton, 371 F. Supp. 2d 183, 194 (N.D.N.Y. 2005) (citing Monell, 436 U.S at 690,
27   Pembaur v. City of Cincinnati, 475 U.S. 469, 483-84 (1986), and City of Canton v. Harris, 489 U.S. 378, 388
     (1989)).
28




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 1   126.     The record of this case, based on investigation, research, complaints to the Syracuse
 2   Police Citizen Board, Police Records, News Paper Reports of Claims of excessive force and false
 3   arrests of citizens by the City of Syracuse shows a pattern, practice, custom and policy by Chief
 4   of Police Frank Fowler in failing to respect, uphold and enforce the constitutional rights of the
 5   citizens of the City of Syracuse. Defendant Chief of Police Frank Fowler’s failure to discipline,
 6   train and supervise the police officers under his command has resulted in the assault and battery,
 7   false arrest and civil rights violations of Mr. Alonzo Grant and many, many other law abiding
 8   citizens of Syracuse. Defendant Chief of Police Frank Fowler’s actions and inactions as the
 9   government official responsible for establishing municipal policies related to discipline, training
10   and supervising the City of Syracuse police officers have been the motivating factors in the
11   deprivations of constitutional rights of Mr. Grant and of many other victims of police brutality
12   and misconduct in Syracuse.
13   127.     Chief Fowler’s inactions, resulting in a policy of inaction, a policy of lack of supervision,
14   and a policy of lack of training for his police officers in how to protect the constitutional rights of
15   citizens was a direct and proximate cause of the violation of Mr. Grant’s Constitutional Rights as
16   stated herein. Chief Fowler’s policy, custom and practice of inaction, lack of discipline and lack
17   of training of his officers led one of these officers to declare during the vicious beating of an
18   unarmed, 20 year old young college student without any prior criminal record, that: “We can do
19   whatever the Fuck we want to do!” This officer, along with his fellow officers, then beat, struck,
20   and punched this young man in the back, stomach, and head, followed by dragging this college
21   student by his legs on the pavement, scraping and bruising his face bloody. This young man is
22   Elijah Johnson who asserts that the Syracuse police beat him, and used racial slurs when they
23   arrested him after a party on University Hill. Chief Fowler and Sergeant Novitsky’s ratification
24   of the police officers’ misconduct constitutes also a pattern, practice and custom and unwritten
25   policy in the Syracuse Police Department to cover up the police brutality and violations of
26   constitutional rights.
27

28




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 1   Evidence of a Policy and Custom and Practice of the Use of Excessive Police Force
 2   128.     On or about June 23, 2010, Syracuse Mayor Stephanie Miner refused to sign and approve
 3   a coveted award for a veteran Syracuse Police Officer, due to proven claims of excessive force.
 4   Mayor Miner did not sign the commendation for Detective Alp Llukaci to receive the Wallie
 5   Howard Jr. Award for his undercover work on drug investigations. Mayor Miner cited a federal
 6   court jury verdict in December in which a jury found that Llukaci used excessive force against
 7   suspect John R. Kelly in a 2001 drug and assault case.
 8   129.     In August 2014, Ms. Louise Thompson, age 76, reported that the Syracuse police
 9   handcuffed her and charged her with resisting arrest earlier that month when she tried to talk to
10   them during a dispute between her daughter, who is disabled, and a neighbor. "Seventy-six years
11   old I am, never had a problem like that,'' Thompson asserted. “But they manhandled me.''
12   130.     Rev. L. Micah O. Dexter II, pastor of Greater New Salem Missionary Baptist Church,
13   alleges that he and his wife were roughed up by police in January, 2014, after calling to report
14   two suspicious people on their property. The police ignored Rev. Dexter’s complaint about the
15   trespassers, instead began handcuffing the Rev. and Mrs. Dexter and placing them under arrest.
16   Rev. Dexter stated: "The officer . . . immediately grabs me and throws me against the intruders'
17   car, handcuffs me and says, 'This is compliments of (Police Chief) Frank Fowler and (Mayor)
18   Stephanie Miner. ''
19   131.     Syracuse police officers Tasered Mr. Brad Hulett, a disabled man, multiple times for
20   standing on a bus when was unable to sit due to his disability. A Syracuse Police Officer pulled
21   up the disabled man’s shirt and used the Taser to electric shock the man’s naked skin. Police also
22   broke Mr. Hulett’s hip in the process of the arrest.
23   132.     These few case examples of excessive force, out of a long list of similar cases is evidence
24   to prove that the policy maker, Chief of Police Officer Frank Fowler, maintains an official
25   policy, pattern, practice or custom of the City of Syracuse that led to the deprivation of Plaintiff
26   Alonzo Grant’s constitutional rights. Therefore, Defendants Chief Fowler and the City of
27   Syracuse are liable to Plaintiff Alonzo Grant for directly and proximately causing violations of
28   his United States Constitutional Rights and resulting in economic and non-economic damages.


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 1             WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 2
                                            FIFTH CAUSE OF ACTION
 3                                             42 U.S.C. Sections 1983
                                                 Assault and Battery
 4                                    (Against Defendants Lockett and Montalto)
                                                   As to Mr. Grant
 5

 6   133.      Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
 7   though fully set forth herein.
 8   134.      Plaintiff Alonzo Grant alleges that Defendants Police Officer Lockett and Police Officer
 9   Paul Montalto assaulted and battered him. “[T]he test for whether a plaintiff can maintain . . . a
10   cause of action against law enforcement officials [for assault and battery] is whether the force
11   used was ‘reasonable,’ the exact same test as the one used to analyze a Fourth Amendment
12                                9
     excessive force claim.”          Defendants Police Officer Lockett and Police Officer Paul Montalto
13   used unreasonable force against Mr. Grant. The undisputed facts are that Defendants Police
14   Officer Lockett and Police Officer Paul Montalto assaulted and battered Mr. Grant, causing him
15   permanent damages as hereinabove alleged. Defendants’ conduct was intentional, malicious,
16   fraudulent, and shows a reckless disregard of the constitutional rights, safety and health of Mr.
17   and Mrs. Grant. Defendants’ conduct warrants punitive damages to protect the public in an
18   amount according to proof.
19             WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
20
                                        SIXTH CAUSE OF ACTION
21                                          42 U.S.C. Sections 1983
                                                 False Arrest
22
                             (Against Officer Lockett and Montalto and Novitsky)
23                                              As to Mr. Grant
     135.      Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
24
     though fully set forth herein.
25
     136.      Mr. Grant alleges that Defendants Police Officers Lockett and Montalto violated his
26
     Fourth Amendment rights by subjecting him to “an unreasonable search and seizure of his
27

28
     9
         Hogan v. Franco, 896 F. Supp. 1313, 1315 n.2 (N.D.N.Y. 1995).


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 1   person” and the “loss of his physical liberty.” The elements of a Fourth Amendment false arrest
 2   claim under 42 U.S.C. § 1983 are the same as those for a false arrest claim under New York law.
     10
 3        “To state a claim for false arrest under New York law, a plaintiff must show that (1) the
 4   defendant intended to confine the plaintiff; (2) the plaintiff was conscious of the confinement; (3)
 5   the plaintiff did not consent to the confinement; and (4) the confinement was not otherwise
 6   privileged.” 11
 7   137.      The evidence proves by the requisite preponderance standard that Police Officer Paul
 8   Montalto, Police Officer Lockett and Sgt. Novitsky, and each of them, made a false arrest of Mr.
 9   Grant by confining him at his home, and at the hospital, and at all times until release. Mr. Grant
10   was at all time conscious of his unprivileged and humiliating confinement to which he did not
11   consent. Defendants, and each of them, are liable for Mr. Grant’s damages.
12   Qualified Immunity No Defense
13   138.      Defendants might argue that even if the court finds that Defendants PO Lockett and Paul
14   Montalto used excessive force, they are entitled to qualified immunity. The qualified immunity
15   inquiry generally involves two issues: (1) "whether the facts, viewed in the light most favorable
16   to the plaintiff, establish a constitutional violation"; and (2) "whether it would be clear to a
17   reasonable officer that his conduct was unlawful in the situation confronted." 12
18   139.      In determining the second issue (i.e., whether it would be clear to a reasonable officer
19   that his conduct was unlawful in the situation confronted), courts in the Second Circuit consider
20   three factors: (1) whether the right in question was defined with 'reasonable specificity'; (2)
21   whether the decisional laws of the Supreme Court and the applicable circuit court support the
22   existence of the right in question; and (3) whether under preexisting law a reasonable defendant
                                                                                              13
23   official would have understood that his or her acts were unlawful.                            In the excessive force
24   context “the question for the purposes of qualified immunity is whether a reasonable officer
25   10
         Kraft v. City of New York, 696 F. Supp. 2d 403, (S.D.N.Y. 2010).
     11
26       Savino v. City of New York, 331 F.3d 63, 75 (2d Cir.2003) Where an officer has probable cause to arrest a
     plaintiff, the confinement is privileged. Id. at 76. The burden of showing that there was probable cause for the arrest
27   is on the officer. Id.
     12
         Sira v. Morton, 380 F.3d 57, 68-69 (2d Cir. 2004) accord, Higazy v. Templeton, 505 F.3d 161, 169, n.8 (2d Cir.
28   2007)
     13
         Jermosen v. Smith, 945 F.2d 547, 550 (2d Cir. 1991) cert. denied, 503 U.S. 962 (1992).


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 1   could have believed that the use of force was objectively reasonable in light of the
                           14
 2   circumstances.”            In excessive force cases, then, the analysis “converge[s] on one question:
 3   Whether in the particular circumstances faced by the officer, a reasonable officer would believe
 4   that the force employed would be lawful.” 15
 5   140.      In the particular circumstances faced by the officers as shown by the evidence, a
 6   reasonable officer would believe that no force at all needed to be employed and that any force
 7   against an innocent man, not a suspect in any crime, and calling 911 for help, would be unlawful.
 8   Police Officers Lockett and Montalto were not presented with any facts, events or circumstances
 9   to lead either of them to reasonably believe that beating a citizen who has called 911 for help,
10   and who was at all times abiding by all laws and in his own home, was a lawful use of force. As
11   Sworn Police Officers to uphold the laws of the United States of America, Police Officers
12   Lockett and Montalto are presumed to know the limits of lawful force under the Fourth
13   Amendment of the Constitution. These officers willfully, knowingly and with a conscious
14   disregard of Mr. Grant’s health, safety, and rights violated Mr. Grant’s Fourth Amended Rights
15   against unreasonable seizures. They committed a false arrest upon Mr. Grant, and willfully filed
16   false depositions to cover up their illegal excessive force. Plaintiff’s constitutional excessive
17   force claim, and assault and battery claims are not subject to the defense of qualified immunity
18   by Defendants Police Officer Lockett and Police Officer Paul Montalto. These Defendants are
                                               16
19   not entitled to qualified immunity.            Defendants’ conduct was intentional, malicious, fraudulent,
20   and shows a reckless disregard of the constitutional rights, safety and health of Mr. and Mrs.
21   Grant. Defendants’ conduct warrants punitive damages to protect the public in an amount
22   according to proof.
23             WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
24

25

26   14
          Lennon v. Miller, 66 F.3d 416, 425 (2d Cir. 1995).
     15
27        Cowan v. Breen, 352 F.3d 756, 764 n.7 (2d Cir. 2003)
     16
          Jones, 465 F.3d at 63.
28




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                                          SEVENTH CAUSE OF ACTION
 1
                                                False Imprisonment
 2                                               42 U.S.C. § 1983
                                            (Against Defendant Lockett)
 3                                               As to Mrs. Grant
 4   141.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
 5   though fully set forth herein.
 6   142.     Mrs. Grant alleges that Defendant Police Officers Lockett violated her Fourth
 7   Amendment rights by subjecting her to “seizure of her person” and the “loss of her physical
 8   liberty” by ordering her, under the color of law, to “get back in the house or I will Tase you”,
 9   repeating his threat to Tase her if she did not immediately go back into her home. Mrs. Grant at
10   all times was at liberty to stand on the porch of her own home, free from such an illegal order
11   from Officer Damon Lockett. She complied with Officer Lockett’s unlawful order and
12   involuntarily went inside her home in fear of being shocked with a Taser gun.
13   The elements of a Fourth Amendment false arrest claim under 42 U.S.C. § 1983 are the same as
                                                                    17
14   those for a false arrest claim under New York law.                  “To state a claim for false arrest under New
15   York law, a plaintiff must show that (1) the defendant intended to confine the plaintiff; (2) the
16   plaintiff was conscious of the confinement; (3) the plaintiff did not consent to the confinement;
17   and (4) the confinement was not otherwise privileged.” 18
18   143.     The evidence proves by the requisite preponderance standard that Police Officer Lockett
19   created a “loss of her physical liberty” for Mrs. Grant by confining her inside her home. Mrs.
20   Grant was at all times conscious of this unprivileged and humiliating confinement to which she
21   did not consent. Defendant Damon Lockett is liable for the damages Mrs. Grant suffered,
22   including mental and emotional distress, humiliation and shock. Defendant’s conduct was
23   intentional, malicious, fraudulent, and show a reckless disregard of the constitutional rights,
24   safety and health of Mrs. Grant. Defendant’s conduct warrants punitive damages to protect the
25   public in an amount according to proof.
26
     17
         Kraft v. City of New York, 696 F. Supp. 2d 403, (S.D.N.Y. 2010).
27   18
         Savino v. City of New York, 331 F.3d 63, 75 (2d Cir.2003) Where an officer has probable cause to arrest a
     plaintiff, the confinement is privileged. Id. at 76. The burden of showing that there was probable cause for the arrest
28   is on the officer. Id.



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 1            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 2
     NEW YORK STATE LAW CLAMS
 3

 4
                                    EIGHTH CAUSE OF ACTION
                                           False Imprisonment
 5                        (Against Officer Lockett and Montalto and Novitsky)
                                            As to Mr. Grant
 6
     144.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
 7
     though fully set forth herein.
 8
     145.     Plaintiff Alonzo Grant alleges that Defendants Police Officer Lockett and Police Officer
 9
     Paul Montalto falsely imprisoned him by subjecting him to “an unreasonable search and seizure
10
     of his person” and the “loss of his physical liberty.”
11
     146.     The evidence proves by the requisite preponderance standard that Police Officer Paul
12
     Montalto and Police Officer Lockett and Sgt. Novitsky, and each of them, engaged in the False
13
     Imprisonment of Mr. Grant by confining him at his home, and at the hospital, and at all times
14
     until release. Mr. Grant was at all times conscious of his unprivileged and humiliating
15
     confinement to which he did not consent. Defendants, and each of them, are liable for Mr.
16
     Grant’s damages. Defendants’ conduct was intentional, malicious, fraudulent, and shows a
17
     reckless disregard of the constitutional rights, safety and health of Mr. and Mrs. Grant.
18
     Defendants’ conduct warrants punitive damages to protect the public in an amount according to
19
     proof.
20
              WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
21
                                       NINTH CAUSE OF ACTION
22
                                                 Trespass
23                                     (Against Defendant Lockett)
                                        As to Mr. and Mrs. Grant
24
     147.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
25
     though fully set forth herein.
26
     148.     Mr. and Mrs. Grant allege that they are the owners of their home and that Defendant
27
     Damon Lockett entered their home without their consent, permission or agreement. His entry
28




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 1   was unwelcomed. Defendant Damon Lockett entered their home without knocking or ringing
 2   either of their two (2) door bells. This was an abuse of police power and presumptively based on
 3   racism and classism in that Defendant Damon Lockett, an African-American, would not have
 4   entered the home of a rich white family in a wealthy, affluent neighborhood in the same manner.
 5   Defendant Damon Lockett felt free to open the door of Mr. and Mrs. Grant’s home and walk
 6   right in, completely disregarding their constitutional rights of privacy under federal and state
 7   law.
 8   149.     Defendant Damon Lockett trespassed on the property of Mr. and Mrs. Grant, causing Mr.
 9   and Mrs. Grant great distress, humiliation and injuries and harm and committed a major invasion
10   of their privacy. Defendant’s conduct was intentional, malicious, fraudulent, and shows a
11   reckless disregard of the constitutional rights, safety and health of Mr. and Mrs. Grant.
12   Defendant’s conduct warrants punitive damages to protect the public in an amount according to
13   proof.
14
                                      TENTH CAUSE OF ACTION
15                                          Invasion of Privacy
                                              42 U.S.C. 1983
16                                     (Against Defendant Lockett)
                                        As to Mr. and Mrs. Grant
17
     150.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
18
     though fully set forth herein.
19
     151.     Defendant Damon Lockett invaded the privacy of Mr. and Mrs. Grant when Defendant
20
     Damon Lockett entered their home without their consent, permission or agreement. His entry
21
     was unwelcomed. Defendant Damon Lockett entered their home without knocking or ringing
22
     either of their two (2) door bells, and without asking for admission into their home.
23
     152.     Defendant Damon Lockett’s invasion of privacy caused Mr. and Mrs. Grant great
24
     distress, humiliation, injuries and harm and was a major invasion of their privacy. Defendant’s
25
     conduct was intentional, malicious, fraudulent, and shows a reckless disregard of the
26
     constitutional rights, safety and health of Mr. and Mrs. Grant. Defendant’s conduct warrants
27
     punitive damages to protect the public in an amount according to proof.
28




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 1            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 2
                                         ELEVENTH CAUSE OF ACTION
 3                                     Negligent Infliction Of Emotional Distress
                                      (Against Officer Lockett and Montalto)
 4                                               As to Mrs. Grant
 5   153.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
 6   though fully set forth herein.
 7   154.     In New York, the general rule is that bystanders are not owed a duty and cannot assert
 8   such a claim; however, New York recognizes an exception to this principle: the "zone of
 9   danger" 19 rule. The exception is premised on the concept that the defendant breached a duty
10   owed to the plaintiff. Where a defendant's [negligent conduct creates] an unreasonable risk of
11   bodily harm to a plaintiff and such conduct is a substantial factor in bringing about injuries to the
12   plaintiff in consequence of shock or fright resulting from his or her contemporaneous
13   observation of serious physical injury or death inflicted by the defendant's conduct on a member
14   of the plaintiff's immediate family in his or her presence, the plaintiff may recover damages for
15   such injuries.
16   155.     Mrs. Grant followed her husband outside when Officer Lockett ordered him to “go
17   outside and talk with my partner”. Walking down the stairs inside of her home, she saw Officer
18   Lockett grabbing her husband from behind and throwing him over the iron railing. Standing on
19   her porch, Mrs. Grant screamed at Police Officers Lockett and Montalto to “stop beating him…!!
20   Stop!! Stop!! He called you!! He called you!!! She saw his bloody face and his futile efforts to
21   protect his face with his right hand from the hail of fast blows of both officers’ fists, and she
22   screamed to stop choking him. She felt powerless to stop the officers’ violent assault, without
23   provocation or cause, on her husband.
24
     19
         The zone of danger rule was first recognized by the New York Court of Appeals in Bovsun v. Sanperi, 61 N.Y.2d
25   219. In that case, the plaintiff was inspecting the rear of his family's vehicle when another vehicle crashed into the
     car, pinning him between the two vehicles and causing serious injuries. The court ruled that plaintiff's wife and
26   daughter, who were in the vehicle at the time, were within the zone of danger, even though they did not actually see
     the collision, as they were "subjected to an unreasonable risk of bodily injury" by defendant's negligent conduct,
27   were instantly aware of the impact, feared for their immediate family member's safety and immediately observed his
     serious injuries.
28




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 1   156.      Officer Lockett yelled at Mrs. Grant to “get back in the house or I will Tase you”
 2   repeating his threat to Tase her if she did not go back into her home. Mrs. Grant was in the “zone
 3   of danger”, directly witnessing her husband being beaten by officers Lockett and Montalto. Mrs.
 4   Grant has and hereby makes a valid claim for Negligent Infliction of Emotional Distress as she
 5   suffered severe and lasting mental and emotional distress.
 6             WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 7
                                          TWELFTH CAUSE OF ACTION
 8                                    Intentional Infliction Of Emotional Distress
                                      (Against Officer Lockett and Montalto)
 9                                           As to Mr. and Mrs. Grant
10   157.      Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
11   though fully set forth herein.
12   158.      Under New York law, "To prevail on a cause of action for intentional infliction of
13   emotional distress, a plaintiff must prove four elements: (1) extreme and outrageous conduct; (2)
14   intent to cause, or disregard for the substantial probability of causing, severe emotional distress;
15   (3) a causal connection between the conduct and the injury; and (4) severe emotional distress." 20
16   159.      Defendants Police Officer Lockett and Police Officer Paul Montalto inflicted objectively
17   excessive and unreasonable force upon Mr. Grant, including bloodying his face, head, body,
18   breaking his nose, cutting his lip and bashing a gash in the side on his head, requiring stitches.
19   Defendant Police Officer Lockett and Police Officer Montalto engaged in extreme and
20   outrageous conduct that should not be tolerated in a civilized society and is not tolerated in our
21   society by police officers who are our public servants.
22   160.      Officer Lockett’s yelling at Mrs. Grant to “get back in the house or I will Tase you”,
23   repeating his threat to Tase her if she did not go back into her home was also extreme and
24   outrageous conduct, since Officer Lockett was abusing his authority to make such an illegal
25   order to restrain the liberty of Mrs. Grant. Mr. and Mrs. Grant have each suffered damages,
26   injuries and harms as a direct result of the extreme and outrageous conduct of both officers
27
     20
          Marmelstein v. Kehillat New Hempstead, 45 A.D.3d 33, 841 N.Y.S.2d 493, 499 (2007).
28




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 1   Lockett and Montalto. Defendants’ conduct was intentional, malicious, fraudulent, and shows a
 2   reckless disregard of the constitutional rights, safety and health of Mr. and Mrs. Grant.
 3   Defendants’ conduct warrants punitive damages to protect the public in an amount according to
 4   proof.
 5             WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 6
                                      THIRTEENTH CAUSE OF ACTION
 7                                             Malicious Prosecution
                              (Against Officer Lockett and Montalto and Novitsky)
 8                                              As to Mr. Grant
 9   161.      Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
10   though fully set forth herein.
11   162. "A plaintiff alleging the constitutional tort of malicious prosecution in an action pursuant to
12   § 1983 must establish a termination of the prosecution in his favor in accordance with applicable
                   21
13   state law."        Rather, the law in New York could not be clearer: "[A]ny termination of a criminal
14   prosecution, such that the criminal charges may not be brought again, qualifies as a favorable
15   termination, so long as the circumstances surrounding the termination are not inconsistent with
16   the innocence of the accused." 22
17   163. In a § 1983 malicious prosecution claim, the presumption of probable cause is likewise
18   analyzed in accordance with state law. "[T]he analysis of the state and the federal claims is
19   identical." 23 Mr. Grant alleges that Defendants, and each of them, suppressed exculpatory
20   evidence, fabricated statements, and failed to adequately investigate evidence of innocence. The
21   prosecution pressed against Mr. Grant was procured by fraudulent and coercive conduct by
22   Officers Lockett, Montalto and Sergeant Novitsky by filing false depositions, and ignoring eye
23   witness statements at the scene. These claims are sufficient to put each Defendant on notice of
24
     21
25      Hygh v. Jacobs, 961 F.2d 359, 367-68 (2d Cir. 1992) (emphasis added); see also, Pinaud v. County of Suffolk,
     52 F.3d 1139 (2d Cir. 1995) not "New York law does not require a malicious prosecution plaintiff to prove his
26   innocence, or even that the termination of the criminal proceeding was indicative of innocence." Rothstein v.
     Carriere, 373 F.3d 275, 286 (2d Cir. 2004).
27   22
          Cantolino v. Danner, 96 N.Y.2d 391, 395, 754 N.E.2d 164, 729 N.Y.S.2d 405 (2001).
28
     23
          Boyd v. City of New York, 336 F.3d 72, 75 (2d Cir. 2003)


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 1   what they allegedly did or did not do. Mr. Grant alleges that these Defendant Police Officers,
 2   including Sergeant Novitsky, acted with malice under New York law because they "commenced
 3   the criminal proceeding due to a wrong or improper motive, something other than a desire to see
 4   the ends of justice served." 24 Thus Mr. Grant is entitled to relief and to all of his damages against
 5   all Defendants. Defendants’ conduct was intentional, malicious, fraudulent, and shows a reckless
 6   disregard of the constitutional rights, safety and health of Mr. and Mrs. Grant. Defendants’
 7   conduct warrants punitive damages to protect the public in an amount according to proof.
 8             WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 9
                                        FOURTEENTH CAUSE OF ACTION
10                                Negligent Training, Hiring, Retention, And Supervision
                                               (Against City of Syracuse)
11                                             As to Mr. and Mrs. Grant
12   164.      Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
13   though fully set forth herein.
14   165.      Defendant City of Syracuse maintains a custom, policy and pattern and practice of
15   negligently failing to exercise reasonable care in training, supervising and hiring its officers.
16   Defendant City of Syracuse has a duty to conduct training, hiring, retention, and supervision of
17   its police officers so these agents and employees will protect and serve, rather than break the
18   very laws, including the United States Constitution, they are sworn to uphold. Defendant City of
19   Syracuse breached, and still breaches, this legally imposed duty by allowing its police officers to
20   engage in lawless behavior and conduct, including terrorizing the citizens of the city.
21   166.      Plaintiffs further allege that the City of Syracuse maintains a custom, policy, pattern and
22   practice of inaction regarding the disciplining of police officers for excess force; and a custom,
23   policy, practice and pattern of failing to discipline it Police Officers for violating the
24   constitutional rights of its citizens. Plaintiffs also allege that the City of Syracuse Police
25   Department has an inadequate Use of Force Policy, which does not clearly draw a bright line
26   defining constitutional violations for excessive force such as choking, using “weighted gloves”,
27   or knees in the back of a suspect. The City of Syracuse’s policy, custom, practice and pattern
28   24
          Lowth, 82 F.3d at 573



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 1   were a motivating factor in causing a deprivation of Mr. Grant’s constitutional rights and causing
 2   all of his injuries, damages and harms.
 3            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
 4
                                      FIFTEENTH CAUSE OF ACTION
 5                                           Loss Of Consortium
                                          (Against All Defendants)
 6                                           As to Mrs. Grant
 7                                Mrs. Grant’s Loss of Consortium Claim
 8   166.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
 9   though fully set forth herein.
10   167.     Mrs. Stephanie Grant has been married to Mr. Grant for 28 years. They have three
11   children, two adult females and one minor male. Under New York Law, Mrs. Grant makes her
12   claim for the loss of Mr. Grant’s "services", including household services such as cooking,
13   cleaning, lawn work as well as loss of love, companionship, affection and sexual relations,
14   disposition and temperament. Mr. Grant suffers post-concussive syndrome, including headaches,
15   memory loss, anxiety, fear, insomnia, and severe mental and emotional distress, all of which
16   divert and steal his attention from Mrs. Grant. Mrs. Grant has sustained a great loss. Her husband
17   is not the person he has been for the previous 28 years due to his daily and continuing suffering
18   from injuries he incurred at the hands of Defendants, and each of them.
19            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
20
                                      SIXTEENTH CAUSE OF ACTION
21                                           Defamation Per Se
                                          (Against All Defendants)
22                                           As to Mr. Grant
23   168. Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
24   though fully set forth herein.
25   169.     Libel Per Se consists of “[a]ny written or printed article . . . if it tends to expose the
26   plaintiff to public contempt, ridicule, aversion or disgrace, or induce an evil opinion of him in the
27   minds of right-thinking persons, and to deprive him of their friendly intercourse in
28   society.”Rinaldi v. Holt, Rinehart & Winston, Inc., 42 N.Y.2d 369, 379 (1977) (where “the



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 1   complaint states a good cause of action for libel per se . . . there was no need for plaintiff to
 2   allege special damage”).
 3   170. Defendant Police Officers Damon Lockett, Paul Montalto, Police Officer Brian Novitsky,
 4   committed Defamation and Libel Per Se against Mr. Grant when each intentionally and
 5   knowingly published false Sworn Deposition Reports, falsely charging Mr. Grant with serious
 6   crimes, which they knew he did not commit.
 7   171. Mr. Grant has suffered damages, injuries and harms as a direct result of the Libel and
 8   Defamation Per Se conduct by officers Lockett and Montalto and Novitsky . Defendants’
 9   conduct was intentional, malicious, fraudulent, and shows a reckless disregard of the
10   constitutional rights, safety and health of Mr. and Mrs. Grant. Defendants’ conduct warrants
11   punitive damages to protect the public in an amount according to proof.
12            WHEREFORE, Plaintiffs pray for judgment as hereinafter set forth.
13

14                         X. REQUEST FOR DECLARATORY JUDGMENT
15   172.     Plaintiffs hereby incorporate the allegations contained in the preceding paragraphs, as
16   though fully set forth herein.
17   173.     Since the State of New York does not have a law permitting wrongfully accused
18   persons to reclaim their status of innocent, a Declaratory Judgment is hereby requested and
19   needed, declaring that Mr. Grant is factually innocent of the dismissed charges. Plaintiffs
20   request a Declaration that Mr. Grant is, and has always, been factually innocent of all the
21   dismissed charges. This Declaration is consistent with the findings by the Syracuse District
22   Attorney and the Syracuse Citizen Review Board, compelling a Declaratory Judgment that
23   Mr. Grant is Factually Innocent of the dismissed charges. Such a Declaration is also
24   consistent with the Due Process Clause protection in the Fourteenth Amendment of the
25   United States Constitution. Simple because the charges were dismissed, does not restore Mr.
26   Grant’s pre-arrest, pre-criminally charged status of innocence is not restored, a status he has
27   enjoyed and taken pride in for all of his 53 years before his wrongful criminal prosecution.
28




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 1   Fairness, Justice and the Due Process provision of the 14th Amendment require a
 2   Declaratory Judgment of Factual Innocence for Mr. Grant.
 3   174.     Plaintiffs further request a Declaratory Judgment that the Defendant Police officers filed
 4   false police report depositions. All of the evidence, the facts established by each the witnesses,
 5   including the patently false and contrived Sworn Deposition Testimony of Defendants Officers
 6   Lockett, Montalto, and Novitsky, as confirmed by the Syracuse District Attorney and the
 7   Syracuse Citizen Review Board, support and compel a Declaratory Judgment as follows:
 8   Defendant Officers Lockett, Montalto, and Novitsky willfully made False Statements in their
 9   Deposition Police Reports, and by so doing, each violation is punishable as a Class A
10   Misdemeanor pursuant to section 210.45 of the Penal Law of the State of New York.
11   175.     This Declaratory Judgment is needed for the benefit of the Defendant Police Officers, the
12   Syracuse Police Department, and for the Public to restore public trust in the Syracuse Police
13   Department and to heal the Syracuse Community from a metastasizing mistrust in the Police, one
14   of our most valued public servants.
15

16                                         PRAYER FOR RELIEF
17            1.     For special and economic damages, including lost wages, for all Claims
18            2.     For general and non-economic damages for all Causes of Action;
19            3.     For $3,000,000.00 against each defendant, individually and severally for brain
20                   damage, pain, bleeding, swelling, misery, suffering, lost of enjoyment of life, for
21                   lost of ability to pursuit happiness, for severe mental and emotional distress,
22                   anxiety, humiliation and other non-economic and economic damages.
23            4.     For punitive damages for all Claims only against the Defendant Police Officers
24                   DAMON LOCKETT, PAUL MONTALTO, BRIAN NOVITSKY, and in their
25                   individual capacity for the protection of the public;
26            5.     For pre-judgment and post-judgment interest at the prevailing legal rate;
27            6.     For costs of the suit including reasonable attorney’s fees;
28            7.     An order declaring Mr. Grant factually innocent of all dismissed charges;


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 1         8.      An order declaring that Officers Lockett, Montalto and Novitsky filed false Police
 2                 Reports, committing Class A misdemeanors.
 3         9.      An order declaring that the City of Syracuse Use of Force Policy is inadequate to
 4                 protect the constitutional rights of individuals and citizens who come in contact
 5                 with the Syracuse police.
 6         10.     An order declaring that such force as Choke holds, knees in an individual’s back,
 7                 head strikes, and death due to “Excited delirium” are per se excessive force.
 8         11.     A Declaratory Judgment as follows: Defendant Officers Locket, Montalto, and
 9                 Novitsky willfully made False Statements in their Deposition Police Reports,
10                 and by so doing, each violation is punishable as a Class A Misdemeanor
11                 pursuant to section 210.45 of the Penal Law of the State of New York.”
12         12.     For such other and further relief, including injunctive relief, as the Court may
13                 deem proper.
14
     Dated: May 19, 2015                         RESPECTFULLY SUBMITTED,
15
                                                 LAW OFFICES OF BONNER & BONNER
16
                                                 / s/Charles A. Bonner
17                                               Charles A. Bonner Attorney for
                                                 Alonzo Grant and Stephanie Grant
18
                                                 Pro Hac Vice
19

20
     Dated: May 19, 2015                         RYDER LAW FIRM
21

22                                               /s/ Jesse P. Ryder
                                                 Jesse P. Ryder, Esq.
23                                               Attorney for
                                                 Alonzo Grant and Stephanie Grant
24

25

26

27

28




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      EXHIBIT 3
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